          Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 1 of 87 PageID #:1
               [f you need additional space   for ANY section, please attach an additional sheet and reference that section.]
                                    IN THE UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF ILLINOIS

                                                                       )
                                                                       )                  1:21-cv4&4A4
(Full dame under                                                       )
                                                                       )
                                                                                    Judge Gharles P. Kocorre
                                                                       )         I5agisffi Judge Sunil R. Hariani
                                                                       )                   PC l0/Direct
(Prisoner number)
                                                                                                   (


                          icardu ?e"rrandez-
person having custody of petitioner)
                                                                                        BECEIITEI)
RESPONDENT, and

(Fill in the following blank only if judgment
                                                                                                       ocT   ls   202t   {
attacked imposes a sentence to commence                                                        THoITASE       BRUTO}T
in the future)                                                                            oLERK U.S. USTR|CTCOURT

ATTORNEY GENERAL OF THE STATE OF                                                 Case Number            of State Court Conviction:

                                                                       )
                                                                       )

PETITION FOR WRIT OF HABEAS CORPUS - PERSON IN STATE CUSTODY
1.   Name and location of court where              !*SS["          entered:




3.   Offense(s) of which petitioner was convicted (list all counts with indictment numbers, if known)
 sf



5.   What was your plea? (Check one)                        (A) Not suiltyRt               (4
                                                            (B) Guilty                     ( )
         NGRI                                               (C) Nolo contendere           (    )
     If you pleaded guilty to one count or indictment            and not guilty to another count or indictment, give details:



                                                                                                                      Revised: 06104115
              [f you   need additional space for ANY section, please attach an additional sheet and reference that section.]
           Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 2 of 87 PageID #:2
                  [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]
PART I _ TRIAL AND DIRECT REVIEW

1.   Kind of trial: (Check       one):             Jury( )                         Judge    only { (

2.   Didyoutestify          attrial?               YES ( )                        NO            V{


                                                                                              q ^ -ffi'
                       ?iffii,iil3
         i,r Nameorcourt:
                  Resurt:
         (2) ^esurL: I Elrlj*(-l)lrfT I Zv<r:rlr\
         \z)                                                                                        EfH#*f
                                                                                                    EfoJCk B,of bU e
         (3) Dateorrtrring: Jlv;lnt-b     I                   ,2D'                                                 fn;ZaflA*t;Jf la+,
         G)       Issues    raised:                           -                         ,                          OA dtl;'- htzbA O*)
                                                                                                                        -CLSuearmr-.Cf
                                                                                                                        'veJ n*l'Flrt an
                                                                                                                        n+ aQ tlt Aq I
                                                                                                                                    S+dcQilrl'J
     (B)   If you did not appeal, explain briefly why not:



                                                                                                         ./
4.   Did you appeal, or seek leave to appeal, to the highest state court? YES                      $tf             NO   (   )

     (A)   If yes, give the
         (1)      Result:

         (2)      Date of ruling:

         (3)      Issues raised:




           lf   no, why not:

5.   Did you petition the United States Supreme Court for awrit of certiorari? Yes                            ()   No    (V/
     If yes, give (A) date of petition:                             (B) date certiorari was denied:




                                                                       2                                                nevised:06/04/15
                 [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]
          Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 3 of 87 PageID #:3
                [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]
PART II   _ COLLATERAL PROCEEDINGS

          [gspect to this conviction or sentence, have you filed a post-conviction petition in state court?

                  NO

        fespect to each post-conviction petition give the following information (use additional sheets                          if
   necessary):

   A.   Name of court:

   B,   Date of filing:

   C.   Issues raised:




   D. Did     you receive an evidentihry hearing on your petition?



  ffiffi*                                     ()t




        (b)    If no, explain briefly why not:

   L    Did you appgal, or seek leave to appeal this decision to the highest state court?

        YES   (\r,/ No ( )
        (a)    If yes, (l) what         result?
                                    was rhe
                                                          ii [tAild'                                           $fr-fB6r^,
                                                                                                        -h"*- PLA
                         (2) date of decision: ocf,-r,".-

        (b)    If no, explain briefly why not:




                                                                     3                                               nevised:06/04/15
              [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]
             Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 4 of 87 PageID #:4
                  [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]
2. V'/ith respect to this conviction or sentence, have you filed               a   petition in a state court using any ofur form           of
post-conviction procedure, such as coram nobis or habeas                    corpus?           YpQ (.   )      No        (\f
     A. Iryes, give       the fottowing    inrormation$ffihf":R"Tlffn*f.tm!&ltepurute                                sheets irnecessary):

           I,     Nature of proceeding

           2.     Date petition filed

           3.     Ruling on the petition

           4.     Date of ruling

           5.     If you appealed, what was
                  the ruling on appeal?

           6.     Date of ruling on appeal

           7.    If there was a further appeal,
                 what was the ruling ?

           8.    Date of ruling on appeal




     B. Did the court rule on your petition? lfso,              state

           (1) Ruling:
           (2)   Date:                                                   2ozl
4.   With respect to this conviction         orr:;{"n",      are there legal proceedings pending in any court, other than this
     petition?  YES

     If   yes, explain:




                                                                        4                                              Revised: 06104/15
                 [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]
                   Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 5 of 87 PageID #:5
                      [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]
      PART   III_    PETITIONER'S CLAIMS

      l.   State briefly every ground on which you claim that you are being held unlawfully, Summarize brigfly-the
      facts supportingreach grbund. You may attach additional pages stating additional grgqlqs and supporting facts.                               If
      you faif tb set forth alf grounds in this petition, you may be barred from presenting additional grounds later.

      BEFORE PROCEEDING IN TIIE F'EDERAL COURT, YOU MUST ORDINARILY F'IRST EXHAUST
      YOUR STATE COURT REMEDIES WITH RESPECT TO EACH GROUND FOR RELIEF'ASSERTED.
                                                                \
           (A)     Ground one                                                               rt
                   Supporting                                       without citing           or Ia
                                tilll




                                                                                                                                                            llr



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       frX:It*nl^*rce64 /t"h.t a l4Yvn,s
                   Supporting facts:
                                                                                     {Us
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                                                                                                       tls-




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           tlwr*@                                 t         ct'*rl in"lr^irt+r* W sW                                            bL     of{ert\'5'
                                                                                                                              Revised: 0610411.5

                       [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]
             Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 6 of 87 PageID #:6
                 [lf you need          for ANY section, please attach an additional sheet and reference that section.l
       (C)   Ground three
             Supporting factsi




       (D)           ro,r.   V\-0Ali
             Supporting facts:



                                                                                                                 ru
                                                                                                                 a^le-dRdrorul




                                                                                                                           I\r^t

                                 Ad;&arost ttyrlb^-# 3h'{ <fi'l*1ft}d&'                                                      #
  2.   Haveallgrouncis,ai,.afr:tii.p"iili*i,.enpresentedtothehighest[ourthar,flgjurisdiction,?4|t*@l
                                 Pwlrrrvrr uvv'PrvDvrrLvu ru Lrrs,rts.srr rvuurL rr4v,rBJurrDururrul'
         yES "( ) NO dtr' """                                                                         ct,1f"!*U{0l./"/a
       lf you an-swered 'lNO" to que*ion (2).                                                               ,E+.  r"El,-
                                                                                                        \;TuiZil* n 1*
6'. if l1i          :-
                                                state   brieflv what.srounds were not"tii'
                         UW tiiJ,i:Eriti nffi,' *}fi,iliii
                                                                                      so oresented
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                                                                                           "
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     Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 7 of 87 PageID #:7




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Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 8 of 87 PageID #:8




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           stl if minois
           Department of Human Services
                                                             r5r. Arra\otr
             Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 9 of 87 PageID #:9



           PROGRESS NOTES - Lined
                                                                             Ct"ut
         note must be dated and signed including titte of




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               Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 10 of 87 PageID #:10
               \
             Statb of lllinois
             Department of Human Services

             PROGRESS NOTES - Lined
    Each note must be




                                                                         bh                  "A-(Cl
                               g/"",

                                                                           Name: WEBBER, MARCI
                                                                           DOB: 0312611967 Sex: F
                                                                           ID: 000906420 Unih 4564
                                                                           Facility: CHICAGO READ M.H.C.
                                                                           Intake Date: 1212312019 6:45:00PM



                                                                ind   ividual's identifi cation


Printed by Authority of the Statebf lllinois 0   Copies                                               Page # of ff#
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      Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 12 of 87 PageID #:12




      1_   srATE OF TLLINOTS :)
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                                           .;
      2    COLII\EY OF DU          PAGE
      3                     IN
                           THE CIRCT]IT COI]RT OF DU PAGE COUAruY
                    FoR Tlm ErcHTEm{TH ,lIlDrcrAL crRfirir oF rLLrNor
      4
           TI{E PEOPLE OF      TTffi                      )
     5     STATE OF        TLL]NOIS,                      )

     6                              Plaintiff,            i
                                                          )
                            _vg_
     7                                                   ) No- l-o cF 2643
     I     I4ARCI     M,   VIEBBER,
                                                         }     STATUS
                                                         )
                                                         )
     9                             Defendant.            )

10

1l-                        REpoRT       oF pRocEEDrNcs had        at the hearing of     the
a2         above-entit,led cause, before the Honorable                     GEORGE ,J.
13         BAKAIrrs, Judge             of the said court,, oo wednesday, the L0th
L4         day   of   Jarrrrary    ,    2ALg.
15
                 PRESENT:
1-6
                           MR. ROBERT B.         BERI,IN,     ,


a7                         State, s_tltg11gy          of Dupage Cor:nry,   by
                           NIR. ,]OSEPH LTNDT,
1B                      Assistant State, s Attorney,
L9                          Appeare4 o* behalf of the people of the
                             State of fllinois;
2A
                        I'{R. JEFF"REY YORK;
2L
                                   Appeared on behalf         of the Defendant.
23

24
          Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 13 of 87 PageID #:13




          1_         TI{E CLERK: Marci Webber.
          2          MR. LfNDT: ,Joe Lindt on behalf of the people.
          3        iuR.. YORK: ,feff York on behalf of Miss webber, who is
          4    not present. she's in the Department of Human servj_ces.
          5    I don'L intend on discussj.ng or arguing anything
      5        substantive, but, proceduralry Miss webber ha.d a hearing on
      7        her petition for discharge or release. The court d.enied.
      B        Lhat, and set a bunch of conditions for both Miss webber
      9        and DHS. x would like to address some of the, whether or
    l-0        not both parties are following thaL order., However:,
    11"        procedurally since she did file a notice of appeal aL her
    a2         reE:egt, even after discussions she wanted to do that and
    13         she *Ld. f don't, know procedurally you have jurisdj-ct.ion
    L4         to even hear anyLhing, so that,s r,,rhy f motioned. it up
    1-5        tod.ay.
    L6               TTIE   COIIRT:   f Lhink Ijurisdiction to enforce the
                                                  have
    L7         orders that. r have entered in this case. And r have some
    1B         real concerns about Department of }lrrman Services and. wkrat,
    19         they are doing. As far as I can see they are not, I
    ZU         understand why they are doing it, but they are not
i

\
    ZL         implernenting what r ordered to be done. so what r would
                                            1fiat fe-f   tro-\^ril   ;   r- w-aaE--Eeffi€bli6*=]:6f6-     -    =



    23         from the Department of        Human    Se::vices to tell me why they
    zq,        are not doing what I ordered t-o l:e done in this case.


                                                                                                        ,1-r
       Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 14 of 87 PageID #:14


                                                                                     4

      1   services. They are not part of the appeal so they have to
   2

   3            MR. YORK,       That's fine, I just wanted
                                                             'J-{hryWl
                                                                to clarify that
   4      before f brought Miss Webber
   5              couRT: r am also going to tender to each of you a
                TI{E
   6      lengthy letter obviously from Miss Webber.
   7                Okay. f guess a couple of things. First,
                MR. YORK:
   I we will need to pick a date, and the sooner th.e better
   9 frankry from Miss webber's perspective because her

 l_0 treatment or her ability to do certain things at, DHS is
 1L       such that, she would        like to     address wi-th the court aE soon
 a2       as possible.
 13          coIrRT: r r:nderstand the other aspect of it as to
               TIIE
 a4 what happened, and maybe there's a legitlmate reason to

 l-5 not do these things, but I would like to hear from

     somebody rather than getting these reports thaE, are    r
 L] will leave it at that. want. to pick a day to do this?
 L8            MR.LrNDT: Does your Honor prefer to hear from the
 1-9      incident occurred at chicago Reed and then that, s why it,
 2A       got transferred. Do'you want to hear from sorneone from
 2L       E1gin?
"2;2                   :- - r' r,rra:t ro hear from someone--who has "some
               TTffi ' COITRT                        "



 23       authority as Lo what goes on in the Department of Human
 24       services,     someone who knows        the facts of the case, maybe
Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 15 of 87 PageID #:15




               Ex[ffin-
                             fr
                            U
                          Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 16 of 87 PageID #:16
1o:17737943957                     Paqe: 42 of 51               2021 -02-17   1   6:57:25 GMT            13122685't36   From: terry iohnson




                                                                                                                          1




                      1             IN    THE CIRCUIT COURT OF THE 18TH JUDICIAL CIRGUIT
                                                    DU PAGE COUNTY, ILLINOIS
                      2
                                THE PEOPLE OF THE                                               )
                      3         STATE OF ]LLINOIS,                                              )
                                                                                                )
                      4                             Pl ai   nti ff,
                                                                                                    No. 10 CF 2643
                      5                  -VS-                                                       STATUS

                      6         }IARCI    tdEBBER,

                  7                                 Defendant.
                  I
                  I
                 10                                          REPORT OF VIDEOCONFERENCE PROCEEDINGS

                 11            had at the hearing of the above-entitled cause, before
                 12            the Honorable GE0RGE J. BAKALIS, Judge of said court,
                 13            DuPage      county, rllinois,
                                                        by suzANNE AUSTIN, certified
                 14            shorthand 0fficial court Reporten, commencing on the
                 15            27th day of October, 2020.
                 16            PRESENT:

                 17
                                       MR. ROBERT   B. BERLIN,
                 18                    State's Attorney of DuPage County, by
                                            [,1S. JENN]FER LINDT and
                 19                         HS . MARY FLEI"I I NG                      ,
                                            Assi stant State's Attorneys                             ,
                 20
                                            appeared on behal f of The peopl e of the
                 21                         State of Il 1 i noi s;
                 22                    MS. MARCI            WEBBER,

                 23                                 appeared pro se on behal f                      of hersel f,
                 24


                                     Austin,    CSR #084-0048
                           Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 17 of 87 PageID #:17
To:'17737943957                      Paqe:43 of51                2021 42-17'1 6:57:25 GMT         13'12268s136         From: terry iohnson




                                                                                                                           2




                       1                 THE CLERK: 10 CF 2649, Marci Webber.
                       2                 THE DEFENDANT:                 Marci Webber, pro so, representi              ng
                       3         mysel   f.
                       4                 Ms.        LINDT   r   Jenni     fer     Li   ndt and t.lary F1 emi ng for
                       5         the People, your               Honor.
                       6                 THE COURT: AI             I ri ght , Hs. Webber, I                 have
                       7        recei ved numerous f i'l i ngs f rom you regardi ng your
                       I        desi re to have a heari ng regardi ng the reports that are
                   o            being generated by the Department of Human services.
                  10            There's no way that r can hear your cases as the dates
                  11            that you have 'i ndi cated. r can gi ve you a date f or
                  12            setting for your motion, but that's the best I can do.
                  13                  MS. LINDT: your Honor! if the people could
                  14            address a coupl e th.i ngs bef ore anythi ng j s set.
                  15                      Your Honor, as to the fi 1 i ngs that have been
                  16            made by Ms. webber, the first thing r would want to
                  17            note is the most recent one that you were entitled
                  18            as a rebuttal , obv'i ous I y the request to 'i ssue an
                  19            advisory order cliscrediting IDHS, Iike they deserve,
                  20            for the incoming judge is a request that just can,t be
                  21            heard by any court,
              22                                    Your Honor, the other request, are specific
              23                prayers  for rel'ief that wil I requjre a hearing js the
              24                Peopl e's posi ti on, but even if they were interpreted as


                                      Austin,   CSR #0S4-004
                          Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 18 of 87 PageID #:18
fo:17737943957                      Paoe: 44 of 51                    2021 -02-17 1 6:57:25 GMT       '13122685136                 From: terry iohnson




                                                                                                                                       3



                      1        that, your Honor, the defendant is represented by a
                      2        Equip for Equality, private counsel, for the matter
                      3        that went up for appeal. so that's part of this case.
                      4        And then pursuant to the statute, your Honor, under
                      5        730 ILCS 515-2-4 subsection C: Every defendant
                      6        acqui ted of a f el ony by reason of i nsan-ity and
                      7        subsequently found to be fn need of mental health
                  8            servi ces shal I be represented by counse'l i n al I
                  I            proceedings under this section and under the mental
                 10            heal th and di sabi 1 i ti es code.
                 11                         I know Ms. Webber constantly refers to
                 12            herself as pro se, but pursuant to statute, that is
                 13            prohi bi ted. she was al'lowed to appear bef ore the court
                 14            without counsel on occasions to advise the court of her
                 15            opi ni on and provi de documentatj on - -
                 16                      THE COURT: I th'ink we have been through that
                 17                      MS. LINDT; She cannot represent hersel f at a
                 18            heari ng.
                 19                      THE COURT:               I    thJ    nK    we have been through                 that   once
                 20            bef o re   , and I th'i nk there were cases that                             sai      d   she
                 21            could.
                 2?
                                 - - I-s-: L,tllol,               Y-grt ."!lgl_gr.         - _.   _




                 23                             f'm going to give you
                                         THE C0URT:                     Li sten to me.
         I
      rlY/   ,24                'm going to give a date for setting. The only thing
         I
         I




                                 anne   Austin,   CSR #084-0048
-lo:17737943957
                           Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 19 of 87 PageID #:19
                                     Paqe: 45 of 51                202142-17 16:57:25 GMT         13122685135             From: terry iohnson




                                                                                                                            4



                       1        to be heard i n thi s case i s her pos'iti on that the
                       2        reports from the Department of Human services are false
                       3        or i ncorrect. That's al I . Now, I'nl
                   4                      THE DEFENDANT:                 Your Honor?
                   5                      THE C0URT: Yes.
                   6                                     I ask f or an order requi ri ng
                                          THE DEFENDANT; I,lay
                   7            the State to give me access to a computer with a
                   8            mod em

                   o

                  10                      THE DEFENDANT: -- that I will pay for
                  11                     THE C0URT: No, I cannot
                  12                     THE DEFENDANT: -- to do real research
                  13                     THE COURT: Ms . Webber , 'li sten to me.
                  14                     THE DEFENDANT: -- that alI parties are entitted
                  15            to
                  16                              Listen to me. I'm not going to do
                                         THE C0URT:
                  17            that. f'm gi vi ng you a date i n January for setti ng of
                  18            your moti ons. rt's not for heari ng, merel y for setti ng
                  19            of your motions. January 121h, 9:00 o'cl ock. Okay?
                  20                 THE DEFENDANT: Yes, your Honor.
                  21                                          (Whi    ch \,vere al I of the proceed'i ngs           had
                  22                                         i    n the     above- enti     tl ed matter.       )

                  23

                  24


                                       Austin,    CSR #084-0048
                          Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 20 of 87 PageID #:20
fo:17737943957                      Paqe: 46 of 51                202142-1716:57:25 GMT    13122585't 36         From: teny iohnson




                                                                                                                  5



                      1              IN THE CIRCUIT                COURT OF THE 18TH      JUDICIAL CIRCUIT
                      2                                      DU PAGE COUNTY, ILLINOIS
                      3

                      4

                      5                              SUZANNE         certify that the
                                                                   AUSTIN, do hereby
                      6        foregoing Report of proceedings, consisting of pages                          1

                      7        to 5, inclusive, was reported in shorthand by me vla
                      8        Zoom videoconferencing, and the said Report of
                  I            Proceedings is a true, correct ancl complete transcript
                 10            of my shorthand notes so taken at the ti me and p'l ace
                 11            hereinabove set forth.
                 12

                 13

                 14

                 15

                 16

                 17                                                    DuPage County
                                                        C.S.R. License No. 084-004899
                 18

                 19

                 20

                 21

                 22

                 23

                 24


                                      Austin,    CSR #084-00483
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                              D
   Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 22 of 87 PageID #:22
                  Paqe:01 of51              2021 -02-17'l 6:57:25 GMT         13122685136        From: tenv iohnson




            IN THE CIIICTJIT COURT O}'THE EIGHTtr]ENiTH JIJDICIAL CIRCTIIT
                              DUPAGE COUNTY, ILLINOI$|

  PEOPLE OF THE STATE OF'ILLINOIS

                                                                        Judge Daniel P. Guerin
                      Plaintiff,
                                                                        Previously before
                                                                        Judge Bakalis

                                                                        No.   2010 CF 002643
          MARCI M WEI}IIER

                      Acquittee / Petitioner



                                 MARCI WEBBER'S RENOTICE OF MOTION
                                       TO SET A HEARTNG DATE

                             Itegarding.Iudge Bakalis,s Ruling on October 27,2OZO
                                   Granting my Request to IIave a Ilearing on
                                         "False or Incorrect,' Entries by the
                                     lllinois I)epartment of fluman Servicqs
                            In my Charts and in their 90-Day Reports to this Court

                                    Submitted: Wednesdayo February 17, 20Zl




Marci Webber
Chicago Read
4200 N. Oak Park Ayenue
Chicago, Illinois 60634
773-794-4036
M * rei We.b be r l 0 1,@ietn a il.com,
                                                 Pro Se.
                    Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 23 of 87 PageID #:23
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                                                                         1                      131   22685136                   From: terry iohnson




                  Procedural llistory for Judge Guerin Who is New to My Case: Because you are nerv to this
                             thought it appropriate to give you, Judge Cuerin, ilrort pnrcedural Irirtn.y; since Judge
                  !:u-t.'. J
                  Ilakalis had previously heard my case since 2010 and b<lth  " acqu.iitecl me of the crimi,al
                                                                                                               chargis
                  and granted my cclnditional release in 2019.

                                                       Short Procedu ral tlistory
                                                                  and
                                                     Statement of t.Inderlying F'acts

                         In June 2012. Judge llakalis acquitted me of any criminal charges surrounding an
                  incident that occurred on November 3, 2010. Therefbre, I appeared befbre this Cou( not as
                                                                                                            a
                  defendant, bu.i as an acquittee.

                          I went to high school in the Chicago area. I served in the U.S. Army in Cermany, having
                      .
                  graduaied with a distinguis'hecl honor grade fur Pershing Missile School     *i
                                                                                               tr.td a Secret
                  Clearance for nuclear lveapons. I was honorably discharged in April I989. Thereafter.
                                                                                                          I came
                  baok to Chicago and received a scholarship fclr fulltuition and attende4 the U.iversity
                                                                                                                   of Lllinois
                  at Chicago with funding under the G.l.   llill. My last senrester. I made the l)ean's     l-ist w-ith a 4.0
                  GPA.

                          l,ater. I attended Albany l-aw School in Albany, New York, starting in 2001.

                           During the time I was in larv school, I hatl a custody dispute with the lbther of one of)my
                 childrerr- As a result. medical doctors prescribed and over-presc,ribed rne with medication
                                                                                                                  lgr
                 stress resulting Aom that situation. I took a lea,ve of absence from larv school
                                                                                                    and attendetl
                 religious services at the Catholic Churoh's Divine.Mercy Shrine in Stockridge, Massachusetts.
                                                                                                                       I
                 attended daily servic-es there and during one of those day-s, my daughter, M{gie (age
                                                                                                             3 at the
                 time), was sexually fondled by a male religious person ivhilej attencled Cclnfe-ssion. Because
                                                                                                                      of
                 that. I Ieft the Divine Mercy Shrine and came back to Chicago.

                        During that trip back, I fbrgot m,v r:nedicarion; and. accorcling to nrany doctors.. including
                 those who have treated me at Elgin Mental Health Center an<I Chicigo Read, I west
                                                                                                          ilto a
                 psychosis due to the sudden rvithdrawal of those over-prescribed medications.

                         While in that psyc.lrosis, I believed I rvas tryiing to protect my dau.ghter, Maggie, Ilom
                 being abused by these Div'ing Mercy religious. And so, the crime frbm whiclr i waJiequitt"d
                 was killing my daughter. At the scene, I wrote .ul)ivine Mercy = Satan" ref'erring
                                                                                                        to the sexual
                 abuse she encountered there.

                        At the trial befbre .ludge Bakalis. the State's ou,n meclical expert testified that t did nor
                                                                                               am an ,,NGRI
                 have the capacity to commit zr crinre and so I w,as acquitted. Technically, I
                 acquittee".
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                                                                                                   1                         From: ternr iohnson




                         Specifically^ the State's witress psychologist Ori.st Eugene Wasylirv stated, "But for that
                 situation, there tvas 'no chance whatsoever' I would harm anyone." Before the crime zrnd. alter
                 that time, I have never physically attacked anyone.

                        [Jnder the tJ.S. Suprcme Court opinion in F'oucha v. Louisiunu 504 ti.S. 7l (1g92), an
                 NGRI acquittee czrn only be held by the State as long as a person is BOTI.:I rnentally ill and a
                 danger to themselves or others. This case has been cited. in numerous lllinois decisions. The
                 opinion 'specifically states these limits of rvhen a State can detain arr NGIII acquittee.

                         Specifically, the tl.S. Supreme Court holds that an NGRI acquittee '1nav be lrled as long
                 as he is both mentally  ill and dangerous, BUT NO LONGEI{." (my emph asis) I;'ouchd at 77.

                          Cclntratry to the constitutional protections annunciated in l*tucha and later cases, I have
                 been punished by the State. I have been told by numerous personnel at l:lgin and Read that I am
                 a "murderer", "baby-killer" and that I deserve to be punished. One healthiare prolbssional at
                 l'ilgin even told me I should commit suicide and gave me a plastic bag. I previously broughr this
                 to the attention of this Court years ago.

                         I have been the victirn ofl"pencil-whipping", a term of art u.sed by in-stat)flpersonnel at
                 Elgin; which refers to a pa[tem and practice of purposely making false entries in my charts at
                 tllgin and Read so that I would be seen in a fblse and detrimental light. As n:ore particularly
                 described in the "Offer of Proof and Videotaped Affidavit" thar I filed on January 8,2021 in
                 preparation ttrr the setting of a hearing which Judge tlakalis granted false chariing has macle its
                 vvay into the ollicial reports given by Elgin and Read to this Coun.
                                                                                        -

                         At my 2019 discharge hearing, Nurse 'l'err.v Nichols testified. that he was told by *y
                 psychiatrist. Dr. Itichard lr4alis, not to r,vrite positive chart notes because Dr, Malis wanted to
                 build a oase against nre for foroed. medication.

                          Specifically..ludge Bakalis relbrenced this in his Memorantlunr Opiniorr ol'september
                 1 8, 201 9 rvhen he stated, "'I his causes the




                 petitioner." Judge Bakalis gives context to the above quote:

                        Similar testimony wes elicited from Dr. Craig Jock, a clinical psychologisl at Chicago Read.
                        pr..j.ocf yvas treating petitloner as a patient slnce Octobei ebte. nt fire frst heiring he
                        testifiedthat petitioner does not meet criterie for mental illness and no longer needed 6 ba
                                                                                                                        k"
                        confined' He also could.not explain why, if these wera his beliefs, he cdntinued to sign
                        treatment 6 plsn letters to the court stating petitioner confinued to need treatment iria
                        secured onvironment. This prior testimony and the present testimony of Mr, Nlcholas
                        seems to indicate to the court thatemployees of the lllinois Depafiment of Human Services
                        are directed by their superiors to endorse their superiors' diagooses even if they disagree
                        with it. Although thE testimony at the prior hearing was not w6ile petitioner was-undeithe
                        care of Dr. Malis, it calls into question the mannei of which IDHS inakes reports and what
                        pressure is placed on employees to conform to yrhat supervising doctors feel should be
                        done even if they disagree. This eauses the court pause to conf;der whether or not the
                        ninetyday.report$ which have been submitted to ttre court, are completely accurat6
                        regarding the petitioner, Memorandum opinion, Judga Bakalis, geptembei. 1g, iotg, p, 6
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                                                                                                    1                    From: ternr iohnson




                         On Decembet I I 2019, Judge Bakalis granted my proJ,e petition to he conditionally
                 released; and denied the State's motion for a sray of thar ru.ling. I was released and dicl weli for
                  t2 days until the State llled an emergency notice of appeal, witliout ngtice tg me.

                                        This Court Rc,tains Jurisdictiein to Receive 90-Day Reports

                                       *,,.fi   :x',{:::,luff t#,i,Ti:f                  :r;:}ll,,D;:';TH;ni",,
                                  Regarding Which [ [[ave Submitted Sworn Testimony and Affirlavits

                        So, yes, there are proceedings in the Appellate Courl regarding whether Judge tlakalis
                 abused his discretion in hearing all the evidenie, listening to all the eiperts, and heiring my
                 testirnony, in granting my conditional release.

                         f'lorvever. this C'ourt RETAINS.IURISDICTION to receive 90-day repofls l'ronr Elgin or
                 Read. And clearly. therefore, retains jurisdiction to have a hearing as to rvhether rhose 90-dla,v
                 reports are purposefully fhlse and even fraudulent,



                                       Judge Bakalis Grants My Motion to Have a }learing
                                                 Regarding these F'alse Entriqs:
                                          IIe Continued the Matter to January l2r20}l
                                                     To Set a llearing Date

                        ln the F'all of 2020,I filed an emergency petition befbre.ludge Bakalis requesting a
                 hearing on these knowingly false entries nra<je by the state against me.

                         The attached trariscript of the October 27,2020 hearing beftire .luclge Bakalis confinns
                 that I (Marci Webber), .ludge llakalis. and State's Attorneys.tennifer: Lindiand Mary lileming
                 were present-

                        The transcript states as lbllows:

                        [MARCIWEBBER]: MarciWebber, pro sg representing mysetf.

                        MS. LINDT: Jennifer Lindt and Mary Fleming for the people, your Honor.

                        THE COURT pudge Bakalisl: All riqht. Ms. Webber, t have received numerousfitings
                        from you regarding your desire to hive a hearing regarding the reports that are beiig
                        generated by the Department of Human Seruices. There's no wayinat I can hear youi
                        casesi [sic] as the dates thal you have indicated. I can qive vou a date for settino for
                        vour motion. but that's the best I can do. tr. at p



                        THE couR_T pudge Bakatisl: ...t'm giving you a date in January for setting of your
                        motions. lt's not for hearing, merely for ietting of your motions. January-tz, b:oo
                        o'clock. Okay?
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                           IMARCIWEBBER]: Yes, your Honor. Tr. at p.4


                         When State's Attorney .loe Lindt suggested at the last hearirrg that Judge Bakalis harJ not
                 granted my request to set a hearing date on these motions regardinglalse entriis in my
                                                                                                            charts and
                 in reports to this Court...he was incorrect. I'le w'a^sn't even aithe hearing on October 27; as
                 Jennifer Lindt and Mary Fleming were.

                         These falsifications in the 90-day'reports subrnitted to this Couut lbr the pasi number
                                                                                                                   of
                 years aflect tlre decisiorr-making of the Court over a signiticant interest of my litrsrty, guaranteed
                 by various provisions of both the l.J.s. and Illinois cronstitutio.ns.

                                                               Specific Ilelief l{equested:

                                                    JLrdge   Bakalis's Rulins of Oc.tober 27. 2020.

                         I am specificallyrequesting that this Court honor Judge llakalis's ruling...it is the law of
                 the case...it has already been decided by this Clourt that I get to have a. hearing-on rhese
                 imporlant i'ssues. T'hese issues affect rny liberty and the iniegrity ol. the n,*rruI health systenr in
                 the State of Illinois.

                          Therefbre, I request that a hearing date be set on or befbre March 17.202[ consistent
                 with Judge llakalis's nrling on October 27,2020.

                          In that regard^ I have previously fited my of.lbr of proof (Attached).

                         Specilically, I am requresting to call or subpoena witnesses identified in nry Offer of
                 Prootl to cross examine them under oath as to the false entries made in rny charts and orher facts
                 outlined in my Of'lbr of Proof.

                 Attached:
                     l. Ofl'er of Proof and Videotaped Af'fidavit of Marci Webber
                        Regarding False or Incorrect Entries in my Cha(s
                        Filed: lrridayo Janrmry 9,2021. (33 pp. - Exhibits and video Link
                        Of rny Videotaped Alfidavit Lrrcluded)

                    2-    Transcript ol'Proceedings October 27,2020- Judge Bakalis Grants my Motion
                          to Seta Date for Hearing on Incoruect and Fa.lse Entries in my chart,
                          and corrtinues the Matter fbr Settirrg of a Date until January 1z,zau. (5 pp.)

                    3.    Affidavit of Marci Webber dated   Frid.ay, January Zg, Z02l
                          Regarding 'l"argeting and Oppressive Room Searches and
                          Request lor an Order of Protection Filed in liederal District Coufl:, Chicago
                          Case No. l:20-cv-07807, Judge Norgle, (a pp.)
                 Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 27 of 87 PageID #:27
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                                                                Respectfully Submited.


                                                                Marci Webber
                                                                Wednesday, February   17,   20Zl


                                                                    Pra Se.

                     Marci Webber
                     Chicago Read
                     4200 N. Oak Park Avenue
                     Chicago, lllinois 6A$4
                     773-794-4036
                     MarciWebberl     0I    @gmail.com
                                     Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 28 of 87 PageID #:28
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                                          IN TTIE CIRCIIIT COTJRTOF 'I'TTB EIGIITEENTH JUDICIAL CTRCUI'I
                                                            DUI.'AGE COUNTY, II,LINOIS

                           PEOPLE OF THE STATE OF ILLINOIS

                                                                                                                       Judge Daniel P. Guerin
                                                      Plaintiff,
                                                                                                                      Previously befbre
                                                                                                                      Judge Bakalis

                                                                                                                       No.       2010 CF 002643
                                         N'IARCI M WIIBBBR

                                                      Del'endant / Petitioner




                                                                     },IARCI \YEBBERtS OFFER OII PROOtr
                                                                                                 &
                                                                          VII}EOTATE,D AFFTDAVIT
                                                             Regrrding Judge Bakalis' Ruling on Octollsr 27,292A
                                                                 Granting my Reqrest to llave a Ilearing on
                                                                      'nFnlse or fncorrect" Entries by the
                                                                     llfinois l)epartrnent of Puhlic l{ealth
                                                               In my Charts and in their Reports to this Court

                                                                          Submitterl: t-r'idny, January 8. 2{l2I




                      Marci Webber
                      Chicago Rerd
                      4200 N. Oak Park Avcrrue
                      Chieago, Illinois 6063C
                       773-794-4036
                      )tarciWctrbcr
                      -ffiffii.fu.
                                               I {} I 0rlllyr- rn*itr.crrn.
                                                                                        Pro   Se.




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                           Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 29 of 87 PageID #:29
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                                                                                           Prefatory Note

                                I am an NGRI Acquittee who was granted conditional release by Judge Bakalis on
                        December I I, 2019 (13 months ago). Judge Bakalis denied the State's Motion to Stay fhat order.
                        Shortly thereafter, the appellate prccess ensued: after being released, I voluntarily returned
                        myself to chicago .Read from where I had just been relaasedby Judge Bakalis.

                                Though, I am represented in the Appellate Courtproceedings by a non-profit
                        organization, Equip for Equality, I am representing myself and ampro se in thise proceedilgs.
                        Judge Bakalis specificaliy mled that I was entitled to represent myielf. For reasoni beyoncl the
                        scope of this pleading, Ibeiieve the Public Defender's 0ffice, who previously represented, me,
                        may have a confliet. I would be huppy to explain this to the Court outside thepresence of the
                        state's Attcrney, as it is an issue reganling my effective representation-

                                On October 27,]A20, Judge Bakalis $anted my written petition fo have a hearing on
                        false and incorrect enties that penneate my charts at Elgin and Chicago Read. And, therlfore,
                        these false, knowingly false, and incorrect statements perrneate the Official Reports by IDI{S to
                        this Court; which falsehoods are designed to keep me iilegally detained when ianU ilfact,
                        neither mentaily ill nor a danger to myself or others.

                                Specifically, Judge Bakalis referenced this in his Memorandum Opinion of September
                        18, 2019 when he stated,  "Jhi                          to                 not
                                    ich have                to tlre                                     the
                       p.9!i!ionsr." Judge Bakalis gives context to the above quote:

                                   $irnilar tastlmony was olicitad from Dr. Craig Jcck, a clinlcnt prychclcglut at Shicago Ro*d.
                                   or. Jock ttras tretting peti'tioner eo a patient *incp Oc$obei fbte" *itne fir*t hfrring he
                                   te*tified ihat petitioner d*e$ not meet critsria fsr montal illnoss and no longor nssdg* io be
                                   con{lsed. Hs also could not er{plain why, if these vuere his beliefs, he cirtinued tu sign
                                   trsat$anl r plan letters to the cqurt slellng petltl*ner contlnu€d ia reed tr€atm*nt tn a
                                   socuFBd 6nvir&nment. This prior te*timany aild ths pr$asnt tastimony cf illr. Niohotas
                                   ssGrns to indlca{e to $re eou* thatarnplayeer af ttrre Illlnols ttepartment 6f Hurnan $eryless
                                   are directed by {heir supericrs to Endsrse the ir suporiora'diagno*es even it they di*agree
                                   rl'ith it. 4ltho-ugh ttra isstimsny at tho prior hearing was not wiiila p*titioner was-undsr tha
                                   oare of $r' lllalls, It calls lnto qu**tbn tho rnann*i af whlEh IOHS inakes repor6 and whst
                                   pnBssur8 is placed on ernployees {s eonfonin to rrhat superuising doctErs f*el should b+
                                   do*o ev*n if thay dis*groe. This cast*s t*rs court pauei to coniidor whethsr or not gre
                                   rNlnotyday reportr whkh havo been eubffiitted to tho fiourt, ore completoly accurato
                                   regarding thQ ps$tionsr. trtenrorondsm OFinio& Jsrdge Eakali$, $eptern,er t*, lOfC, p. O


                              Yitleotaped Affitlavif: At my requssL a Videntaped Afiidavit and Offer: *f
                      Frorrf was made thtough a Zctarn video co*fer*nce with me and Terry j*hnson. For the
                      la;t nurnber of years I have asked that videotnped interviows he made of me aild that I
                      be ahle to a1:pear in courlpru.sr] $o I can show to the Court that I. am not mentally ili;
                      and arn not a tlan6er to rnyself or ottrers.

                                   'L'here have been many
                                                       knowing$r fai*e statennents put in my cFuarts designed to
                      kee,p nre rxrrongly c*nfined by the state. Many of the psychlarisx and psycholn[;sts
                      employed by the l]Iincis Deparknent of .Fubiic l"Ieatth have admitted to me                             thatl   am not




]'RIAL MOijE - a valio ticense wili renrove lhis niessag*. See the lteTwcrrls proporly cf this pDF for orore irifanlation.
                           Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 30 of 87 PageID #:30
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                        ru$ntally iil, that I nrn           nCIt s   darrgert{} myself ar other$, afld thot                I should   be ;eleassd
                        frcm confinement"

                                 Un{'trrtu*atnLy, ,rny ilumt er of thesrs $ams individual* have adn:itted trl me that
                        they are fearful of losing their jobs nnd their pefisions; afid so, they tto flot wa31t to
                        tesfiS' candidly ahcut their opinions becnuse they go eontrary to those high*r-ups at
                        Reaci and Elgin.

                                In addition, the staff at these sarne inrrtituti*ns that have cunfined rne have a
                        tenn called "pencil whipping." As I explain in tlre atrached Videotaped Affrrlar.it, ihis is
                        a practice in w'hich }ilgin or Read stcff purposely cha* fhise entries'desi;pr:d to make a
                        detainee lock bad; while failing trr cha#positir.r enrries.

                                In thE end, these falsn entries, and kncrwingly false efitries, hav* violated my
                        *onstitution*I rights protcctedby fhs LJnitsd States and lliinais Ccnstituticms.

                               Re*ently, I flied *pro tis Etabeas Corpus peiiticn in Fed*ral District Court,
                       clhicago whi*h is nowpendi*g under I:20-cv-7f0? (Judge Norgle), This peiitionwas
                       received and filed by the clerlr af the lrederal ifistrjct Couit on Decembo i0, 4020, t
                       persone.lly he$dwrote the petition and rnailetl. it to t}e Court and parties from Chigago-
                       Rend rvhere I do not have acc$ss to a computer or legal researcrr,

                                   I betrieve Judge Bakalis was conect in properl,v releasing nre l3 month.s ago.

                               I'iveLc,ume the oppar.tuuity to have a hearing oa the folse, $norvingly false and
                       inro*'eat enkies that have been made in nry charts and in ofTicial repo*sin this Court
                       hy ernployees of the titate.

                              I encourage this Courtto waich the r.ide*tape rf my testimony and Of.fer cf
                       Proof which is provided iu a cligitai link on the frcni and lasr pag€s oi:niy Vide6taprtl
                       Affidavit which is atrached.

                              Appendix: In addition ta the hanscript of rny Vi<leotaped Affidrrvit and Offer of
                       Proof dated De*srnher 10, 2020, I have attached, the following in anAppendix through
                       a   llrophcx li:nk:

                                         1. Transcript of Prooeedings, October 2T ,2020 (5 pp)
                                              Judge Bakalis granrs my motiot for a h.earing"
                                        2.    $grnorandurn Opiniou of J*dge Baknlis, Septernbcr 18, ?019 (10 ppJ
                                              Judge Balalis grants my pctition for conditioral release.
                                        3.    My Brief to rfre Appellate Court, Defendant / Fetitiouer / Appellce
                                              (the statement of Fasts in my brief is a rcasotrably accurate-summary of thc
                                              factual and procedural history in my ca.*e before ihis court.)




]'RIAL MODE - a valid licanse wili remove l!!is oiessaga. See ihe heywcrCs prcperty of ihis pDF for nr:re irilonriation.
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                                                                                                  1                     13't22685'r36   From: terry iohnson




                                                                       Respcctfully Submittod,


                                                                      Marci Webber
                                                                      FridaS January 8,2021




                       Marci Webber
                       Chicago Read
                       4200 N. Oak Park Avenue
                       Chicago, llinois 60634
                       773:7944036
                       Marci lYebberl 0I qt-dsm n.il.rorn.
                                                                                             Pro      Se.




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                                                                                                   nore infonrration.
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                 L                                                                                                                                      TI1.'/^iT/E


                 2                                                             Videotaped Aff,idavit                         and,

                 3                                                      Offer of proof of Marci l{ebber
                4                                                                      Dec,ember             10,      ZO2O

                5                                                 rrink:        b_!!p_g_i#_y-qt._E-ii..ile/}Ny:ly${c_qw-.
                6

                7                   Q: Marci- do I have your perrnission t,o record thls
                8 vid,eotaped affidavit                                   and.      offer of proof?
                g       A: Ies, you do.
              10                    Q: Do you arso give me your permission to assi st you                                                         r-n
              11 filing t"his with the court hefore                                                       ,iudge Eakalis            or his
              72 successor?
             13                    f: yes, you do.
             t4                    Q: For the record, this is the offer of proof and the
             15 videotaped. Affidavit of Marcj- w€bber who is an NGRr acquittee
             16 under case No. 2.a7ac?2643 pending 1n t,he ci-rcuit court" of .. -
             t7         t€€€i+-€€rflntlf DupaEe countyl                                 .   And are you. appearing                     pro se i-n
             18 those                pr:oceedj_ngs?

             19      A: yee, I asr.
            20       Q: And just for the record, you have submitted. affidavits
            21, to the court before, by, t,hrough attestation. so, do you swear
            22 that a1r rhe facr,s that you will give today r,ritr be the truth,
            23 the whore t::uth, and. nothing but the truth so he.rp you God under
            24 't.he pain and penalt,ies of perjury?



TRIAL MOUE - a valici liceruse wili rernow this rnesrqag*:, See ihe heywcrds poperty cf itris pDF
                                                                                                  for nrore inromiation.
                          Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 33 of 87 PageID #:33
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              25       A: Yas, I do. I also trant to just Inake surs ttre data -
              26 f,oday is Deceniber 10, the year Ls 2o2a and it is Thursday.
              27                    Q: ok. And that's - and where are you standing or sltting
              28 ri-ght               now?

              29                    A: r        arn    in ttre Group Room. rt, s outside tlr.e Day Roon on B
              30 South Unit at Chicagro Rsad.
              31                    Q: ok. And you have been detained by the st,ate at either
             32 Elgin or Read, what was the first                                                        year?
             33                    A: I[elI the underlining crj:ne happaned                                                 Noweniber       3, 2010.
             34 Ehe acquittar rras ,rulre 2oL2 and r was sent to Ergin tfientaI
             35 Healtlr Center up untiJ. Oetober 11u of 2OL6. Then I had a hearing
             36 and the decision uas November 136, 2oL7. The d.ecision, y6s, it
             37 ras 2o - Novenber 13 | 2oL7. Then r uas sent back to Ergin                                                                                on
             38 November 22, 20L7. 'lftren after .]udge Baka1is, Septeurber 1gth,
             39        207.9       deeision r rraa sent back to chicago Bead on october 2,
             40 2019. r sa€ re1eased on December 11, zoLg and. then foraed to
             4L return on                      rtry own.          no incident, Decerrber 23td.r 2019.                                    And.        r lrave
            42 been here since.
            4?                     Q: ok, And you didn't even have any notes i-n recarling
            44 those dates. You have a pretty photographic memory from                                                                               my

            45 experience in doing dates and recalling conversations, j-s that
            46 fair?
            47                    A: Yes, itrs pretty good.




TRIAL MOUE - a valici licersq will remove lhis nies;eag*. See ihe hoyworrls property cf iJ(s PD[: for rnore inforrlation.
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              48                     Q: Alright,                    first          of all,                  uludge        Bakaris had granted your
              49 request to have a hearing and fj-Ie documents in court regarding
              50 the false and knowingly false things that have been entered in
              51 your charts and j-n submissions to the court, is that fair?
              52                    A:      Yes.

              53                    Q: Alright.                    And this recording wiJ-J. be transcribed, but as
              54 you understand this is an offer of Proof which will tell the
              55 Court and the parties what you intend to prove through various
              56 witnesses and recitations of admissions from employees                                                                            and
              57 professionals at either Elgin or chj-cago Read, is that fair?
          58                        A:     Yea,

          59                        Q: Alright.                   Arso as prelimj-nary, had you g,iven to the court
          60 recordings that you                                          made         of      some            of these professionals
          61 regarding their admissions, some of which indicated that,                                                                              you
          62 were not mentalJ-y ill                                            in their opinion or a danger to yourself
          63 or other?
          64                       A: yes.
          65                       Q: Did you send recordings to Judge Bakalis?
          65      A: I sent one recording irritialJ-y after Dr. Corcoran                                                                             trad
          67 perjured hi-arsolf on October 11 , ZOLZ.
          68                       Q: And this is what - this is what - First of all,                                                              this     i_s

          69 what, you tord the court those plain words right. This is what
          70 you have informed Jud.ge Bakalis?
          7L                      A:      Yes.




]'RIAL MOUE   - a !,alid licensq \uill renrove lhis oressas*. See th6 hoylrrords prci.ertv of ihis   pllF   for rnore infonnation.
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               72                     Q: Alrighb and - and - go ahead. I,m sorry.
               73       A. one of the reasonE xrhy r sent tlrat reeor.ri nE in
               74 particular, weLr a couple of reasons, ras because Dr. corcoran
               75 testified                      I screamed at trim for                                  1O   minutes.        .Lnd.   it clearJ.y              shows
               75 no screeni.ng                         and.      it shows adnission that, just like I lrawe been
               77 saying the entire tirrre, the marric,ations caused the behavior at
               78 ttre tiroe of the crime. That, s why r sent ttrat to him.
              79 subsequently, he, a aoupre of months Iater,                                                                  drudge       Bakaris, r
              80 asked him once r was before hin in court if he had. received                                                                                   and.

              81 listened to Dr. corcoranrs recordinE. and he said \\yes, lrd like
              82 to hear more." so, r sent hin about 2s out of geveral years of
              83 recordings to giwe him an idea of what was goinEl on.
              84                    Q: Right, and did. you - and that was at his invitation,                                                                         is
              85 that correct?
              86      A: Yes. Ee asked me specifica1J.y lris words uere '.I                                                                                rcould.
             87 J-ike to lrear more. /,
             88                     Q: And did you expect that those recording that                                                              Jud.ge

             89 Bakalis requested i-n your case in open court were to be made
             90 part of the Record in your proceedings when you represented
             91 yourself pro                           se?

             92                    A: Yes. As a matter of f,act, r thought erreryttring r ras
             93 sending                    iRrdge        Bakalis ras part of tlre                                  Recorcl.




                                                                                                     4



TRIAL MOiIE - a valio license wili renrove tlris tno6sag*. See ihe hey*crcs pr.,Feny cf ihis pDly
                                                                                                  fbr niore in.forrration.
                         Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 36 of 87 PageID #:36
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                                                                                                      1                        1                            From: terrv iohnson




             94                    Q: And you have a copy of the recordings that you sent to
             95        ,Judge        Bakaris, if                somebody asks you                                to send them copies of              what
             96 you sent, Judge Bakaris and Lhe court in your proceedings?
             97      A: 9re11 , of course r don,t have a copy on my person. other
             98 peopJ.e h,ave copies.
             99                   Q: Right. so, you courd direct copies to be sent again if
           100 they are not in the                                  Record.,             is that fair?
           101      A: y€a.
            toz                   Q: Arright. Alright. First of al-1, r wourd like to ask                                                            you
           103 - to see if I can ask you a couple of things that we nould like
           Lo4 to do today. Eirst of aIr r would like to first identify - you
           105 and r have previously chatted correct? And we have tried to
           106 identify those psychiat,rist,s or psyehologists who have treated
          LO7 you or have seen you at either Elgin Mental or Read regarding -
          108      A: No, Elgin or Chicago Read.
          109                    Q: r'm sorry, Ergin or chj-cago Read- r have that on my mind
          110 - Elgin or Chicago Read that have either admitted to you that,
          111 one, you are not ment.aI1y ilr or that you are not a d.anger to
          t'72 yourself or others which are standards as you know under u.s.
          113 Supreme Court and rllinois Supreme Court rulings regarding NGRr
          t1,4 acquittees, you understand that?
          115      A: fhoee are tlre only standards. you have to be both,
          L1'6 nentally iII and dangeroug and Eeasonnhry expacted to cqrmit
          tl7 serious bodily har:m on yourself or others fron g'1'at mental



TRIAL MODE - a valio licerstl wili remove lhis oiessag*. See the hoywonls property cf   itras   pDF for nrore irrforriation.
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            118 illness to be detained in an in-patient unit' like I an. Arrd I                                                                               am

            119 not beinE in foreneics. r'm on a special unit for psyc^trotic
            720 peop16.
            LzL                            Q: And my guestion is                                      you have a rist.               r woul-d rike to
            L22 identify the rj-st, Eirst of all,                                                              just the          names   of those
            L23 physicians, medical docLors, psychologists, or psychiatrists                                                                              who

            L24 have admitted to you and those who are employees of either Elgin
            125 or Read that., one, you are not mentally ir1 or you are not a
            L26 danqer t.o society or others. I would just like you to identify
            L27 the list                            of those psychiatrists or psychologists. pl-ease spell
            t28 their                        name and              these lists                of these people consistent with your
            L29 affidavit                             are onry those individuals or wil-r be those
           130 individuals - there may be others - who have said those things
           131 to you, fair enough?
           132                             A: Sure.
           133                             Q: And then at the end of our listing                                                 of those physicians,
           L34 r wil-1 ask you again "Marci, are these physicians people that
           135 have admit.ted to you t,hat you are neither mentarry il1 or a
           135 danger to yourserf or others?"                                                          And.      then wer1l go back, and r
           L37 think we wiLl have Lime today to talk specifically                                                                            about what
           138 two physicians have told you: Dr- obaid and Dr- Rohrbacher-                                                                               Ts

           139 that                        ok?

           140                         A:        Ye€.



                                                                                                          6



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                           Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 38 of 87 PageID #:38
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            1,4L                    Q: Alright.
                                 so, first, of arr, r,d J-ike - And you have some
            L42 notes in front of you, correct?
            143                     A: Right. r have a list                                           in front of me starting in
            1'44 cfrronological ordsr from the most recent person who actually is
            145 Dr. Ziuddin-
            L46                     Q: ok, first                        of all r                 am     just going to ask please feer free
            t47 to reference your notes, r know many of this you, you know very
            L48 we1r. so first of a1L, r wourd like to see if you can go through
            149 and identify just by name, and                                                            maybe pronounce            their   name

           150 phonetically, and see if you can spelr it if you know, and telr
           151 us whether or not they are a psychologist or a psychiatrist, and
           Lsz. how they interface with you; not about what they have tord you,
           153 but just identify them- okay? And we wil-l_ just keep track of
           L54 them by number,                                    How       about number                       1?

           155                     A: okay werl Dr. ziuddin, is z-r.-u-D-D-x-N, r beliewe,                                                          she
           156 is a medical doctor. She was my merrical. doctor from 2016 in
           L57 tlrrough 2OL7 for 13 nontha before. She 5-s ny current merrical
           158 doct'or. I aeked her -
           159      Q: Ok. first of al-l vle are not going to talk about what                                                                       she
           160 said. we are just going to go through and identify the
           151 physieians by                                 name.

           L62                    A: Oh okay, okay.
           163                    Q: So, as an example, l_etrs qo to number 2. Who,s the
           164 second doctor we have on your J-ist?



'X'RIAL MODE -
               a valid licensu will rernove   llis   o:es;-eaga. See ihe ilgyworrls   poperty of iilis pDF for rnore infonriation.
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           165     A: rhe ltedica.l Doc,tor r had prior to Dr. ziuddin, Dr.
          166 shareef, S-H-.B,-R-E-E-E'. he is a Dedicar doctor as werr that
          L67 rorks here.
          168      Q: ok. And r apologize because r donrt know, are either of
          159 the doctors psychologists or psychiatrists or just medicar
          L7O doctors?
          L71                          A: They are medica]. doctors.
          L72                          Q: okay, fair enough. Next please.
          L73                         A: rrell they rork in this field.                                                lrtrey know a parson, s
          t74 mental1y iJ.I.
          175                          Q: No, i understand,, They have seen you at chicago                                                           Read,
          t76 for example, those                                         two?
         L77                          A:      yB8.

         L78                          Q: Alr:-ght, and these are aiI physicians that you are going
         179 to                  name have               ej-ther seen you at chicago                                       Read.   or Elgin Mental
         180 flealth Cent,er,, is that fair?
         181                         A: yea.
         182                          Q: So, let,s go to the thircl physician.
         183                         A: so,            tf,r,e   next in ti-me trould. be Dr. .[ffia Rohrbaeh+r, R-O-
         184 II-R*B-A*C-H*E*R. she is a psychiatrist sho met ms i"n oc,tober of
         185 2a76 and has lcnorn re nor - rui.nus the stay i.n Ergin - she }raa
         186 been around me eecond rnoet of al-l doctors in                                                                        IDES.




TRIAL MCiUE -   er   vzlio lioersu wili renrove thb snes-eags. $ee ih6 heywo.ds prcpo+ty cf ihis pDF for oiore in.fonriation
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             L87                     Q:     And. we         wirl        come back               to this again because r                         am   just
             188 trying to identify this, but Dr. Rohrbacher has told you that -
             189 told you what just in summary, short version?
            190                     A: She said that I                           am     not msntal-I.y i11. That nedications
            191 can       a normar brain mentalry i11. sl.e said that, rel1, her
                                 rnake

            L92 exact rorrrs ..you are not mentally irr now.r,
            193                     Q: ok. fair enough.                            htre   are going to - we wilr just do that
            L94 by way of descrlption.                                        We     wilI        come back                later on for         some mor.e
            195 information.
            195                    .L: Ok.
            L97                    Q: I t,hink the next doctor up is                                             whom?

           198                     A: Dr. Mir obaid, M-r-R, and his last                                                   Erame   is o-B-A-r-D,            IIe
           199 is also a psychiatrist who has done tro l8-month periods as a
           2OO nedical director herre baok r tl'ink around 2OOA was one of the
           201 tiures. He did not want to                                            d,o    it peruranently                 and,   tre started back
           2OZ i-n tlre 80'e aa a peychi-atrist. So, he hae been around. for a very
           203 long time and also Dr. Anna Rohrabacher has know:r me eince
           2o4 october of 2oL6. r hawe hnd. constant contact rith them.
           205      Q: Alright, and just a quick question r know we wir-1 come
           206 back to it, but r just want to get through the l_ist, but Dr.
          2o7 obaid has admitted to you that in his opinion you are not
          208 mentally irr and he has also admitted to you in his stronq
          209 opinion, you are not a d.anger to yourself or others. rs that
          zLO fair?

                                                                                                  9



TRIAL M0DE - a valio {icorlse wili renrove 8t!s niegsagu. See ihe heyrvcrds propeny cf
                                                                                       this pDF for nrore irrionraiion.
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            2Ll                     A: Yes, thsy botb. have stated also ..you donrt                                           need.
            2L2 medication, you need to go home.,, They know r an being hurt;                                                                    he
            213 lras admitt€d that to me that tbis is harming ne.
            214                     Q: Right, and you, re not. on any - you have refused
            215 medication for how long                                          now?

            2L6                     A: Since Septonber 256 of 2013.
            2!7                     Q: Right, and from my view and the view of many others                                                     and
            218 from the view of this videotape, you seem to be not mentally iII
            2l1g and conversing easily and with linear thinking. rs that fair
            22O with respect to your opinion?
           22L                     A: yes, r               am corupretery                   different than r waa in              2010.
           222                     Q: okay, arright. Let's just go down the list                                              again.       The
           223 next doctor, or psychiatrist or psychologist?
           224                     A: My current psyehiatrist is Dr. Anatoriy pyerar.                                                    The
           225 spelling of his                               narns       is .A,-![-A-T-o-t-r-y, pysrar is, p-y-s-L-A-R.
           226 He is ukrainian, he hae been here for a coupre of years. Ee is
           227 rerativsry new, he is young. Ee rras carred. me, quote, ..one of
           228 th.e normals. " Ee has eaid tbat i-f r was a ciwir corrmittee r
           229 wouLd trawe been reLeased. Prior tso my release he said that r                                                                  arr
          230 fine if the iludge releases you.
          231'     Q: And just stepping back, many or if not aIr of these
          232 reports and admissions that you are not mental-ly iIl or a danger
          233 to yourserf or others, these never made it 1n the reports in


                                                                                                 10



TRIAL MODE - a valio licerse wili renrove 0t!s nes,eage. See ihe heyrvcrris prcpsrtv of this pDF
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                                                                                                                                                              From: terry iohnson




             234 your medical charts nox did. they make it to t,he reports to the
             235 court of LTudgre Bakalis, is that fair?
             236                     A: That,s correct.
             237             that. is one of t.he reasons you believe that there
                                      Q:     And.

             238 have been falsifications and knowingly falsiflcations made in
             239 the reports to the court conLrary to t,he opinions of many of
             240 these physicians, psychiatrisEs, and psychologists who have
             241 treated you, is that fair?
             242      A: r knor they a,re farse. r have lrad a staff say to                                                                           me,
            243 \lthe peopJ.e you say are Iying, are lying./,
            244                      Q:     Ok.

            245                     A: And he used that word.
            246                     e: Arright, 1et.s go -                                  r-et, s just go to Lhe next names
            247 because we are not goi-ng to get through expranations of alr of
            248 these physicians. r would like just, to get through the names
            249 next. Ok, who,s the next,                                           one?
           250        A: ok, my rast psychiatrist bsfore Dr. corcoran and. Dr.
           251' surrivan in 2oL? just before ny hearing, r think about a monttr
           252 or so before my rrea:ring, septeurber 26, 2oL7 ,,as the hearing. Dr.
           253 llerena Radomska, R-A-D-o-u-s-lc-A, was my psycl.iatrist and ehe
          254 had told Dr. watson - it's 5.n his report - that quote, \\ured,s may
          255 }.ave caused my mantal irlness or exacerbated something.,, off tlre
          256 - on the side ahe adnitted to rne that she fe]-t that akatlrisia
           257 had caused it.                              fhat unchecked. akathisia can                                     causre   rhat       hal4pened.

                                                                                                   LL



!"RIAL MoUE - a valici licBnsu wili renrovo thls oies-ea3e. see the Lsyloxds prcperlv
                                                                                      cf r.his pDf: f<lr nrore infomation.
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             258 and that I ras not mantell.y i11. She was guite apologet,ic say1ng
             259 rltbat rasn't you.r, when doctors start to get to know me they
             260 start to feel my gruilt and ttrey start saying to me ..ttrat wa6n/ t
             26L you" and trying to make rne feeJ. better about vhat haplpened 10
             262 yeara ago.
            253      Q: And those reports of their opinions and assessments of
            264 you never make it into the charts and the reports to the court,
            265 is that fair?
            265                     A: No.           Ewen        Dr. Rohrbac,ker...
            267                     Q: No, is that - Irm sorry. Is that true, what I said?
            258                     A: Yes, that is true.
            269                     e: ok. Alrighr.
            274                     A: The positive things d,on,t get in there,
            271                     Q: Right. you have - just a littte                                                   bit of an aside -         you
           272 have filed documents in court f think when you were being
           273 detaj-ned at Elgin t.hat you reference a word that people at Elgin
           274 use called - what was it - somethj-ng about chartinq, pistol
           275 whipping or something like that?
           276                     A: Oh, penciJ. rhippinE.
           277                     Q: pencil whipping.
           278              he tord ne \\don,t 1et tlrern pencil whip you.,, And
                                   .B': Yea,

           279 Martha stroud tras saying to me, r\w6 know you are not mentarly
           280 irI,                r    aur    going to kaep doing this until you                                            EIo   to jair.,,      And,
           281' another person, Becky - Rsbecca rtikolov, who is retired from

                                                                                                   L2



TRIAL MOiIE - a valid licersu wili rornove llrb niessaga. See ihe l:oy.d/ords prcperh. cf ihis pDF
                                                                                                   for orore irrfonrution.
                            Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 44 of 87 PageID #:44
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             282 there, had said the sane thing that thay pencil whip you. And
             283 another person from here, pat Fierce, had, said that ttrey have
             284 tlreir marching orders, they rri66rt d.o a                                                               good. enough   job
            285 basically pencil whipSring me when I sas here before and. that I
            285 can't leave unless r can get arong rith people. so -
             287                     Q: Alright,                  l-et. me ask you this.                             Do you berieve that. pencil
            288 whipping as they have described it to you - and these are
            289 empl-oyees of the lllinois Department of publ-ie Health - have
            290 told you about that concept that they used, pencir whipping,
            291, correct?
            292                     A: yes.
            293       Q: And that is, for lack of a better word, putting
            294 knowingly false j-nformation j-n your chart to make you look bad,
            295 desj-gned to keep you detained or retained at those facilities,
           296 is that fair?
           297      A: Yes. As a ma.ttef, of fact, Dr. !trir Obaid. showed. are rlr.ere
           298 - they have a rist of what ttrey are suptr,osscl to d,o with each
           299 patient each day as f,ar as ttre chart'ing. r forgo6, - r wrote dorn
           300 ttre nane - rtrat ttre paper says. But he saye - becauee it saya
           301 ttrey're suppossd to all interactions with me eaeh shift. Ilhich
           3OZ is not true bscause tlrey don't rrite                                                             the posiuive chart.             See,
           303 they can wri.te sonethinE in paper, but they rirr tert certain
           304 staff somathing opposite, so itrs not noticed,. But, Dr. obaid


                                                                                                    13



'I'RIAL MODE - a valid
                       licedrse will renrove &{s oressaga. See ihe }'.ey*crds property of tlris pDF for rnoro infonr,ation.
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              305 said that "you are the onl.y one 5.n ttris faciJ-it,y sittr tlrese
              305 inetructions. r,
              347                     Q: Alright,                  ret me ask you this. Do you berieve t,hat these
              308 false chartings, knowingry farse charting, has viorated your
              309 constitutional rights both of the u.S. Constitution and the
              310 rllinois                      ConstituE,ion wit.h respect to the actions of various
              311 employees and officiars                                           of the state of rrrinois,                      rllinois
              3L2 Department of public Health?
             313                     A: Abso1utaJ.y. I think it,s vio1ated - -
             3L4                     Q: Right- Can vtre go to the next narne please?
             315                     A: sure. Dr. Taneer shan, he uas my fi.rst psychiatrist
             316 here. IIis namt is spetled [-A-N-E-E-R, f believa. Arrd. last name
             3t7 is S-II-A-N. r saw hirn tlrrough october, November, and Decernber of
             318 2oL6. And after he wrote the words in my chart quote, \\no
             319 psychosis, no mood disorder,,, he was reuroved, aa my doctor.
             32o     e: Do you believe people have been removed from seeinq you
            321 because they have made some positive findings about you that are
            322 inconsistent, w-ith you being detained at either Elgin or Read?
            323      A: Ibaolutely. Staff Latanya Simnons at Elgin lrad told me
            324          \ldorr'    t talk to me too nmch because they wilL eee it                                                    and, they
            325 rill          off, ttre unit. r, anybody who wae friiendly to rne, or
                                    move me
            326 vrote poaitive th5-ngs - Dr. Rohrbaclrer wrote 2 positiwe chart
            327 noteg that never mad,e it into my court reports either.


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                                                                                                                                          1                         From: terrv iohnson




              328                      Q: Ok.            How many               - Iitt,Ie bit of an aside, how many years
             329          did you study law in law school?
             330                       A: I had 5 eemesters of law.
             331                       0: ok. Right.
             332                       A: 2 and a harf yearg. and r got B rninuses in paychiatry of
             333          the ].as.
             334                       Q: Ok, fair                   enough.

             335                      A: r was asked by my professor to                                                             [not dacipherable]
             335                    the law rewier. r w.s v6ry honored by that and my paper ras
             337         on [not decipherabJ.e].
            338                       Q: so, you have come to understand the significance of
            339          rllinois and u-s.                             supreme              court decisions that contror how long
            340          the state can keep a person who is not guilty by reason of
            341,         insanity, NGRI acquj_ttees, is that true?
            347                      A:      Yes.

            343                       Q: Alright,                   and -
            3M                       A: By ttre way, Dr. corcoran testified                                                         that lre successfulty
            345         treatad me in jai1. r believe r should lrave never been brought
            346         into the mentaL heaLtlr system regardlesg because I rtid. not neet
            347         tlre criteria                    where tha burden ie on the state to prove ttrat r                                                     am

           348          mentalry ill                      and dangerous. And rrudge Bakalis actualry ordered -
           349          wtrenr rag representi.nE myself - orderad. r.Ieff york to give ma
           3s0          the medicar records. Ee gave me all but t}e last y6ar of ttre
           351          medicar recor.ls from the very beginning of those mediaar records

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             352 that hawe my djiaginosis listed as deJ.irium psychosis, meaning it
             353 is caused by a chenical Like t$e medications,
             354                      Q: Alright,                   in your review, have peopre admitted to                                              you
             355 that you were being overprescribed various types of medicatj-on
             355 and they believed that that or the withclrawar - the sudden
             357 withdrawal from t.hose medicat.ions caused your psychosis?
             358                     A: oh yes. r
                                        on two of the highest dosss - or tno
                                   ''as
            359 axrtidepressants at the highest dosages and -
            350                      Q: Let me ask you this. sorry. Let                                                   me   ask you this. you
            351 were being prescribed those medications by a physician, is that
            362 correct?
            363                     A: yes.
            364                     Q: Alright.                     And did peopre - and were there psychiatrist,s
            365 or psychorogists at chicago Read or Ergin, have they admiLted to
            366 you that they believe that. t,he medicatsions, eit,her t,he givingr of
            367 the medications in high quantities, or the sud"den withdrawal was
           368 a likeIy cause of the psychosis that lead to the crirne?
           369       A: Yes. r haven't had anybody - r am trying to think -
           37o realry adamantly refute it. Maybe a couple of psychiatriets
           37L dodged the issue. But, aII of the med,ical doctors, for exanqrle,
           372 Dr. Anthony Nadia said \rof course ttrose meds caused, your
           373 psyclrosia" baek in February of 201s. at 20l,6, sorry.




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                                                                                                         1                               1                                From:   tery iohnson




            374      Q: Let's go back on track to the other physicians who have
            375 told you, admj-tted Lo you, that you are either not mentally iII
            376 or a danger to yourself or others.
            377      A: ok, serr rreire next on Dr. corcoran. Do we want to wait
            378 for tJlat for later?
            379                     Q: No, r'm )usc -                            r just want to go through the names. r
            380 reaIly don't, want to talk about what Dr. corcoran said rj_ght
            381 now. Let/s just indicate who he is and whether he 1s a
           382 psychologist or psychiatrist.
           383                     lt: Ee is a psychiatriet.
           384                     Q: Alright.
           385                     A: He is a psyctriatrist who has seetr me sinc,e r was in
           386 jaiJ..
           387                     Q: Alright,                 leL, s go to the next                                    name?

           388                    A: Dr. carol Rosanova. No. Dr.                                                  Rosanowa on Augrust                     27 -
           389                     Q:     V,Ihat      type of doctor is                               she?
           390                    A: oh, r'm sorry. Dr. Rosanova, she is a psychiatrigt                                                                            who
           391         8anr     mt frorn December of 2015 into October LOLG. Iter                                                                nartre       ia   R-O-
           392 S-A-lr-o-v-A.
          393                     Q: My notes indicate that you told me she specifically
          394 admitted to you that you are not dangerous.
          395                     A: Yes, ra rere at a staffing on                                                     r7enke      unit at ErEin              on
          396 Auguat                   276     ,    2oLG and             right to rroff, york                                5.n   front of, me, saicl
          397 vely                adamantJ-y ..she,                  s not dangerous.                             r,


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             398      Q: And that informat,ion never came out to any report to the
             399 Court, as far as you know?
             400    A: No, actuarry what's f,unny, if you Look at the court
            401 Reports from the beginning to the current, they,ve upped the
             4OZ legaI                 .Langruage            in it.           You can teLl tlrat tJrere is soneone, most
            403 likely'                     that/s helping with the lagaI language ancl thay have
            4o4 actually done tJre opposite and said that r am reasonabry
            4O5 arqlected to couait serious bodiJ.y ha:rn to myse1f or otlrers.
            4oG                     Q: Right, and you think that is fraudu.r-ent and false
            447 consistent with the other admissions that many doctors have tol-d
            408 your that you are not ment,ally irr or a danger to yourself or
           409 others, is that fair?
            4LO                     A: I        lcnow       tlrat because of tlroee arlnissions                             a-nd.     al-so I knorr
           4!t         myseJ.f,

           4Lz                      Q: Right. Have any doctors, psychologists, or psychiatrists
           4L3 at Read told you t.hat they are fearful to keep their jobs,
           4L4 incruding their pensions, if they teI1 or chart these positive
           4L5 things about you?
           4L6                     A: oh yes,                 LE'    s a the'e going all the way back to Elgin
           4L7 starting rittr Fred                                   dlones who was                      the Activity f'herapist who said
           418 r    not paranoi-d, r should have been relea,sed in 2014.
                            am

           479      Q: And the guestion was, have any peopre indicated to                                                                         you
           420 that they feel their j obs would be in jeopardy if they say
           421 positive thj_ngs about                                       you?

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            422                   A: Yes. Dr. obaid has specifically                                                             - tras said to mer \\rrm
            423 not testifying."                                 This ig a quote, \1r                                 am     not testifyinE.             r don,t
           424 want to lose my job or pension.r, and r donrt want to call                                                                                 hi-m,
           425 but r nsed to go hqne. They are hurting me too nuch,
           425                    Q: Right. Is it your intention to put doctors                                                               r^rho have

           427 admitted to you these things that wourd quarify you to get, out
           428 immedj-ately if you are not mentally iI1 or a d.anger to society
           429 or others - is it your j-ntent to subpoena these witnesses and.
           43O have them give sworn testimony before the Court as to. one, the
           43t falsification in your chart and, number two, why you should be
           432 rel-eased immediately pending the outcome of the fllinois
           433 AppeJ-late Court Decision in your case?
           434                   A: yes.
          435                    Q: Alright.                   LeL's go through the next physician please-
          436       A: rhe next physician is Dr. Daniel Hardy, Ire was the
          437 uerricar Director at Elgin and he signed a p5_ece of paper -                                                                                 he
          438 uas tlre merrical doctor and psyclriatrist.                                                                        IIe signed. a piece of         a
          439 paper along with Dr.                                       droan       Langly, rho was the director of
          44o psychology, she is a psychologiet at Elgin, on !.tarch 31 , 2oL6.
          44L And trrat piece of paper, that transfer paper, said quote,
          442 \\nottrtE1, not curently uental.J.y i11.,,
          443                   Q: Let,s just go to the next name, please.
          444                   A: Dr. Loay sanduka. rt,s L-o-A-y.                                                         And, Sanduka        is S-A-N-D-
          445 U-K-A and he is a psycho1ogist at EJ.gin.

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          445                         Q: ok- And r                     am     just going through my notes, I think                                    we

         447 have a - Are there any other physicians, meaning psychiatrists
         448 or psychorogists, on t,he rist? r think that was it for me -
          449                        A: Dr. craig rroek. Artd arso, my very first                                                doctor, Dr.               irohn
         450 r'leisner- He wrote in ny chart. Ee retired. He wanted to get out
         451 of thie case. And Bob's report tal-ks about him bej.ng afraid that
         452 my cas€ uas going to bror up in his face and, was upset ahout
         453 rhat the highel-ups were telling him to do. He wrote that I was
         454 in a =obust ramission and on apriJ. 30. 2oL4, r saw in ruy chart
         455 trtrere he had rffittsen, \\ia no way neets the criteria for forced
         455 meds-r'But, 3 days later the nerr doctor came in, Dr, syed,
         457 Hussein, and stuck m6 up for a forc.ed. shot to strow me ttrat they
         458 were bi.gger ttran me is what MaribeL Martin called it -
         459      Q: Arrightr there are other health care professionals,
        460 nurses, and srAs who we can talk about Iater, but, are these an
        46t appropriate listing of the names of the physlcians including
        462 psychiatrists and psychorogists who have either t,oId you, one,
        463 you are not mentally i1l or you are not a danger to yoursel-f or
        464 others or you shoutd be rel-eased from confinement at either
        465 Elgin or Read?
        466      A: Yes, therets also a eouple of rnore medical d.octors. Dr.
        467 Dipankar Banerjee, he ras aruays rear aporogetic saying, '.that
        468 rrasn't you." And Dr. [ral.ca, r think trer first name is ca=ol1m,
        469 at Elgin. And tf,ren Dr. Anthony Msdea h.as adanantly blamed. t1e

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          47O meds, early to                                 m,e.      But he totd me b.e takes his instructions frou
          47L tJre psychiatrists.                                     At ttre time ttrat was Dr. Malis, Dr. Richard,
         472 l[aria, the discredited doctor from Ergin. you know, trre judge
         473 .{iscredited him. And actualry, r sent t}re judge docr:ments
         474 stroring ti^at he has parjured hj-mseJ.f as                                                                    wel.1.   as Dr. Corcora.n.
         475                           Q: ok- Alrightf                     so the doctors, the psychologists, and the
         476 psychiatrists,                                  and Ehe medical doctors that you have descri-bed,
         477 have they admitted to you whire they were emproyees of the
         478 rllinois Department of public Hearth, whether it be Elgin or
         479 chicago Read, in                                    summary            that, one, you are not mentally ir1
         480 and, number two, you are not a danger to yourself or others.
         48!      A: yes.
         482                          Q: And if cal1ed at the time of trial                                                     or other proceedings,
         483 you could competently testify to those facts?
         484                         A:     Yes.

        485                           Q: Alright.                So, we have been going for about 30 minutes
        485 today- And first    of all r would U-ke to see if, as facilitating
         487 you to get.t-ing this offer of proof to the court, do you give me
        488 permission to                                 send.      or transcribe this -                                  and. we    can get it
        489 transcribed - and also to post it on a private youTube channel
        49O so that link can be sent to the Court as well as to the State, s
        491 Attorney, s Offlce?
        492                          A:     Yes.



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            493                      Q: ok. werr that r think concludes the offer of proof                                                           and
             494        vj-deotaped Affidavit                              for today. My quest,ion is if you - well r
            495         will continue a little                                 bit. You could                       come back and         talk in         some

            496          signj-ficant detail about what each of those doct,ors specifically
            497         told you about those admissions,                                                  woul_d       that be fair?
            498                     A: Yes. And r can eite very specific exanqrles of ries                                                           and
            499         wtrera staff had told doctors they are J-ying.
            500                     Q: Arright.                  And. we          can corne back at another time and talk
            501         about specifics about what some non-d.octors, non-psychiatrists,
            502         non-psychologists, staff - you could chart and tell us what ries
            s03         they have specifically put in your chart, true?
           504                     A: Correct. And -
           505              Q: HoId on, 1et me just, let me just ask- And there are
           506         arso people that have toJ-d you, emproyees of either Read or
           s07         Elgin, have told you, admit,ted to you, t,hat they know various
           508         individuals are lying 1n your chart, meaning pencil whipping you
           509         for lack of a better word, is that fair?
           510                     A:     Yes.

           511                     Q: And you courd give sworn testi-mony when we come back in
           5tz         another session about what admissions hawe been made by you
           513         about false charts, false facts in your charts made by
           514         nonphysicians, is that fatr?
          515                     A: Yes. And r can back it up wittr eurails. r uee a                                                           Googrre

          516         phone nr:rnber with eurai-ls regurarly, constantry throughout the

                                                                                                   22



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             5t7 dry to docurnent everyttring. My thoughts, feelings,                                                                and.

            518 behaviors. They never aslc you why you behave a certain vay, ttrey
            519 nev6r ask you what are you thinking, what are your feelinge.
            5ZO Don't you think ttrose are ttrq most reJ.ewant things?                                                                And.    there is
            52t no r:ontext in rny court reports,
            527                     Q: Alright,                  you understand as a person who has studied law
            523 and also has studied case l-aw with respect, t.o                                                            NGRI     acqulttees
            524 that the state cannot punish you for a crime Ehat you are found
            525 not guilty of, is that true?
            526                     A: Coffiect. I have D\lD video fron depositions witlr quotes
           527 fron, for exanq>re, the chief of security, Birr Epperson states,
           528 \'.lEhis is a penar institute. They deserve punishnent.,,
           529                      Q: ok. My quest.ion is, you are aware of the rega] standard
           530 that says it is itregar for the state to punish an NcRr
           531 acguit.tee, is that correct?
           532                     A: Yes. Ttrat is nhy it makee it harder on                                               me   mentally
           533     , because r knor wtrat they are supposed. to be doing.
           534                     Q: Right, and have there been a consistent group of people
           535 that have tol-d you things that you are being - you shourd be
           536 punished for your actions and various very untoward. things they
          537 have called you names, and murderer, and the tike. could. you
          538 briefly tark about people who have trj_ed to punish you from
          539 their word.s by carring your certaj-n                                                           names? And    r   am   talking
          540 about. staff of either Elgin or                                                    Read.

                                                                                                   23



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            54t      A: I know what you ar6 tal-king rlr.out. Marwa Sg,roud. told. me
            542 r should - t,hat r am going to helI. people at Elgin were very
           543 vicious towards ne, Thay kept                                                           mE       from tal.king to my father as he
           544 was dying. And then they pointed a finger, r mean a pen at my
           545 face. carey Frances did, and said \rr am just doing my job.r,
           546 Margot said \\r hava my orders. r, And. sha would. mess with ne one
           547 day being ver]r                                   mean         to ns emotional.J-y and. then she rrould 1et
           548 off- she'd say \\oh up one day, dow:r one d,ay. you are bipolar.r,
           549 That's not how you - oh. Terry Nicbols, the nurse that
          550 testified,                               he tord             m,e    normarry they sqlueeze a patient that
          551 doesn't take meds for a montlr or tro, not a coupre of years. And
          552 th,en he also said that they d.on't rule out rnental- illnesses they
          553 build cases against menta]. ilLness.                                                                  And,       I have seen that for
          554 nyself over the years and recorded several years to try to prove
          555 r'm not mentarJ.y irl and dangerous, and, r am being alxraed. and
          556 Dr- obaid said that '\your reactions are normal reactions to ttre
          557 mif.ieu. Ird be yorse.r,
          558                          Q: Have you been subjected to body searches and cavity
          559 searches outside of any norm that you have seen at, Read or
          560 E1gin, and do you believe you have been singled out because of
         551 the crime that you were found not guilty of?
         562      A: Etratever the reason, if it's just because of, ttre crirne
         563 or because of ne speaking out, r tbink it is a c,oanbination, y€a.
         564 And Dr. vieky rngram said to me "IIs hanren't done cawity searches

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         555 or anything like that in yaars.,, And she said ttrat Dr, Mau_s ras
         566 lying on ttre witness atand tlrat \\it is documentect that you were
         567 cavity searched" and that traumatized. me significant].y. An6 the
         568 room searches, they initialJ.y wlren I got to E].gin were 4 times                                                                                     a
         559 week, by t.}re time tlre hearing occurred Bernice paige ;'eetifie4
         57o it was trice a week. Eara r hawe paperwork saying they ware
         577 supposed to do it 3 times a week. r have a Defensg security
         572 Guard coning into Ey room when I                                                                 am      sleeping ttre majority of ttre
        573 time and just trashing ruy room. Here recentry - ttre rast one
        574 tlrere rae 6 people. The etaff, told, are, the nuree m.rDager Bisi,
        575 you spoke to him yesterday, said, NEverybody rho is available
        576      to her Eoom." And nobody else on tlris unit tras that done to
                          c,ome

        577 then. At Elgin r had to be body searched. just to leawe ttre unit
        578 and body searched on the way back. And it wae basicarLy they -
        579 t}ris is what Dr. obaid said, ..they are e*pert manipuratora of
        580 situations in behavior.,, so, it was d.esigned, to d,eter nre frorn
        581 going off the unit doing things, to help me eope witstr the
        582 environraent. And Dr. Pyslar recently asked me if I ras dspressed
        583 arrd r said \\rro." r.ater, r said to myseJ.f you know r etroul_d hawe
        584 said \\rs ttrat what you are going fot?, because of tror
        585 restrictive                               - f       am       extrernely isolated. here,                                 Aad, uhen         I aslc for
        586 he1p, they stick j-t to Ee even rore                                                                    !ro.
        587                          Q: ok- And do you believe from what you,ve just testified
       588 about that you are being punished by peopre ej-ther at Etgin or

                                                                                                         25



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            589 the st.ate contrary to your constitutional rights, both u.s.
            590 Constitutj-onal- Rights and the State of I11inois, because you
           591 have been acquitted of any crime?
            592                             A: absolutery. r havs no doubt in my mind. r,m baing
           593 punistred.
           594                              Q: Alright,                  that wil]- conclude the videotaped affidavit                                   for
           595 today, Thank you, Marci. And -
           596                              A: Ihank you, ferrar.
           597      Q: rf carred, r will ask this question usualry are at the
           598 end of affidavits, could you competently testify to the above
           599 facts?
           600                             A: absolutery. And r really apprecia.te you doing tt.is for
           601                  me.

           602                             Q: And you are giving this testimony under the pains                                                   and
          603 penalties of perjury consistent with an affidavit                                                                      attested to by
          604 you, is that fair?
          605                              A: Yea. r would neter Lie. one, r was not raised that ray
          506 anrd, tro, I can't afford to even say a tiny wl.ite 1.ie because it
          607 wiLl be trristed and held against me. I lrawe rrifferent standards
          508 held on me tJran other people.
          609                              Q: ok- Alright,                       thank you so much and again rr11 have
          610 permission to submit this t,o the Court as an offer of proof and
          611 Affidavit and also in a YouTube - private youTube link - to the
          6LZ court and to the parties, is that fair?



'l"RiAL MOiIE -   er   valici   licerse will mmove thb oresgagu. See ihe i:eywcrds prci.ertv of ttris pDF tbr more infonrralion.
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           513      A: Yes, thanlc yorr very vary ruuclh Temy.
           6L4       Q: ok. this is about 38 minutes and 59 seconds, so it is 39
           615 minutes - Thank you much for your time and would you also thank
           616 the people at. Read that facilitat.ed this?
           6L7                       A: I definiteJ.y wiI1.
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          519                                                          EITD      oF \IIDEoTAPED AEE'IDA\IIT
          620                                                 AIID OrrER OE' PROOE OE'!{ARCI                                    WEBBER

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                                                                                        of ihis pDF: for nrore   infoelation.
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               637

           639                                                                               certification
           639      r certify that the above transcript of the videotaped
           540 Affidavit and offer of Proof of Marci v[ebber is a t.rue, comprete
           641 and correct report of her testimony, as videotaped wi.th her
           642 permission on December 10, 2020. A youTube 1ink to the actual
           643 video and audio taped t.est.imony of Marci- webber, as t.ranscribed
           644 above is                          at    :         i:r..Lp-s   rll-f,ggru -&g&N{:XEIsqgg.
          645                          This certi-ficaiion is                                  mad.e       pursuant to secticn I-109 of the
          646            Code          of Civil procedure.
          641                                                                   reltf\                f\jtJ_^,_c
          648                                                                 *_-**tI:_
          649                                                                 fe::rence M- liohnson
          550                                                                 Date      : Thursday,                 uTanuary      7,   2021
          651 Terrence M. Johnson
          652 No.i:th pi-er, Chicago
         653 505 H. illinois                                        Street,
         554            Lor,trer        Level Suite                     L

         555 Chicaqio, rl_J-inois                                       606i      I
         5s5             (31-2     i    922-4A22

         657 I%$L..*]Erlp."qq.q.f.rii:f.g"g:-?sr,
         658                           Not. as an aetorney for Marci webber, who is pro se, but as
         659                           a person who has assisted. in the tjaanscription oi- her
         660                           videotaped Affidavit and Offer of proof.

                                                                                                        28



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                       case: L:20-cv-07807 Document #: L4 Filed: oLlzgl2t paqe L of ? pagetD #:263



                                            IN THE UNITED STATDS DISTRICT COURT
                                           FOR THE NORTHERN DTSTRTCT OF'ILLINOIS


                  MARCI MARIE WEBBER,

                                 Plaintiff.

                         vs,                                             Case   No. l:20-cv-07807

                  STATE OF ILLINOIS, er aI,,                             The IIon. Charles R, Norgle, Sr.


                                 Defendants.



                            PLATNTIFF' S RE OU E ST FO R PROTE CTION FR                 OIVT   TIARASSII,IENT

                         Ms, Webber requested that I file with the court the attached Exhibit A describing her

                  harassment try certain   ofthe defendants.   She hopes the court was   will give her a hearing and
                  order the harassment to cease-




                  Dated: January 29,2021

                                                                                   Respectfu   lly submitted,



                                                                                   By: /s/ Harold C. Hir,rhman


                  Harold C. Hirshman (ARDC# 1226290)
                  DENTONS US LLP
                  233 S. Wacker Drive, Suite 5900
                  Chicago, IL 60606
                  Telephone: (3 12) 876-8000
                  Facsimile: (312) 87 6-793 4
                  I{arold.hirshrnan@dentons.com
                  Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 62 of 87 PageID #:62
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                      case: L:20-cv-07807 Document #: 14 Filed: aLlzgl2L page 2 af 2 pagelD #:264



                                                  CERTIFTCATE OF SERVICE

                         The undersigned hereby certilies that on this 29th day oli.Tanu ary,2027,I filed the

                 ftrregoing with the Clerk of the Court using the CM/ECF system- Pursuant to Fed. R. Civ. P.

                 5(bX3) and the Northern District of Illinois' I",R 5.9,I have thereby electronically served all

                Filing Users,




                                                                                      /sl Harold C. Hirshman




                116536563V-1
                  Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 63 of 87 PageID #:63
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                                      EXHIBIT A
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                      TOMROLDI{reHMAN
                      FROM:TERRYJOI{[{SON

                      RE MA,ROI/1EBtrR

                      Harold,

                      Pleasure to speak with you a few minutes ago. When I spoke wtth Marci, she was in some considerable
                      distress for what they are doing to her. I think the slaff (and others) are targeting her, certainly a vulnerable
                      person.

                      The following is a transcription that my daughter, Devin, did from the recording I made with Marci on a
                               I have revisrr,ed this. Thefollowing is wtrat she said:

                      ::*r
                  TM.l: Marci, I have your permission to record this to get this transcribed right?

                      MarciWebber:Yes

                      U   nderthe pains and penalties of perjurythis   is   the sworntruth.

                  "On December 10, 2020|did a video affidavit on the falsification of my remrds. On Deember 15, 2A2O dt
                  '12:30 a.m., a security guard came to my room taking pictures of my room. Later on, that
                                                                                                           day, a nurse who
                  wasadefendantinmylawsuit, PatPearce,camewithotherstoroomsearchme.Sincethatday,lhavebeen
                  roorn searched 3 times a week,andonJanuary2T,2022,lwaswokenupwhilesleepingoffaheadacheof
                  which I am experiencing near daily, constantly along with stomach aches and other symptoms of this trauma,
                  bydefendantPatPearce, the nurse seority guard Rodriquez, and mental heatth tech Miguel. Because of Pat
                  ftarce accusing me and falsifuing information ard making my room a mess, on thethird shift I asked for
                  photographs of my room. Security came around 1 1 :30 / 12 andtook photographs. At 1 a.m. on January 28,
                  2021, t:ey hadcomebacktodoaroomsearchtakingnearlyeverysingleitemthatwasofcomforttome:a
                  plastic cup, tea, soap, money, things that are harmless that I have a right to under the Constitution.

                  Today,isFriday,January29,202l,lamexpectinganother                   room search. I am sbk trc my $omacfr. My   hed
                  hurts.lhadaconversationwithastaffyesterdaynamedRodneyfromanotherUnitwhostatedthathewould
                  wanl to end his life instead of living like this. A nurse namedSanBene{phonetic) hassaidhewouH be
                  depressed if he had to live like this. I am isolated. I don't have any visits. I don't have internet connection or
                  access or to a computer. I don't have access to a gym since 2016. I live wlth IDP patients and patients who are
                  acutelpsychoticSo, lamextremelylonely.Allofthesethingsincludingsleepdeprivationwheretheytake
                  notesoffmydooraskingthestafftoturnthedoorhandleveryslowlyorscreaming patientsthatwake meup
                  iscontributingtostressthatisharmingmesignificantly; so much so that I fear for my own life because of
                  wherethisisgoing.Andwhattheyhavedonetomein20lTleadingtoasuicideattempt2daysafterthe
                  judge refused my release being less severe than it is now, I am refused coping tools. My DVD player is
                  extremely restricted" Now, they have taken all of my movies, so I don't have movies to watch. I am refused
                  gummy bears that a docior on September 23, Dr MarV o'Baid, wrote a complaint form requesting that I get
                  accesstomysnacksandmorecopin$ools. I am refused the gummy bears and any snack...noodles that help
                  mystomach.Anythingthalcanmakemylifepeaceful,comfortable,andsupportedisdenied.

                  I   am asking for an Orderof Protection to help me."

                  Underthepainsand penaltiesofperjurythisis the swom truth.

                  T:Andyournameis?
 Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 65 of 87 PageID #:65
                                                                 ro be cont inued 51'                           1


M:MarciWgbber.

T: And it is approximately 11:45 a.m. on Friday, January   29,2021,onecf?

M:Yes.And ldowanttoaddthatthemajorityofthestaff herearehostiletowards me.Theniceonesare
peer pressured into not doing n'rce things for me, and several have implied that they ranuld urant to eitrer
end their ltfe or that they would be depressed trat they couH not live trb way. lt is not mental health care.

T: And )ou are wishing firr nre to send this to?

M:Harold Hirchm*r
                                                     Finis,
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       JB Pritzker,
                                           lllinois Departrnent of
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                                          9O-DAY NGRI TREATMET.{T PLAN REPORT
                                                     MARCI WEBBER
                                                  Docket # ?0I0-CF-002643
                                                               2n9t702t


                    I.     IDENTIF"YING INFORMATION
                           Ms. Marci Webberis a S3-year-old (DOB 3126/1967) twice-divorced Caueasiau female
                           who wao originally admittcd lo the Elgin Mental Health Center's Forensic Treatment
                           Program from the DuPage County Jail on 6l18/2012 after having bccn acquittecl Not
                          Guilty by Reason of Insarrity (NCRI) on 617t2017 by Judge Bakalis for the I I l3l20l0
                          First Degrcc Murdcr of her 4-year-old daughter. She was thercafter rcmaflded to the
                          Department of Human Services (DHS) and found to be in need of mental healtlr
                          treatment orr arr inpatient basis. She was given a Thiem Dato of lll3{?l 10. Ms. Webber
                          transfcned to the Chicago-Read Mental Health Center (CRMHC) on l0/l l/1016 bur was
                          returned to the medium secure setting at the Elgin Mental Health Center (EMFIC) on
                           1ll22n1l7 following a reported suicide affemrpt. She rentained at EMHC until hcr most
                          recenl transfer to the minimum $ecure B-South trcatment unit at CRMHC on 10/212019
                          per the order of the Honorable George J. Bakalis, Qn 1211112019, Judge Bakalis
                          conditionally rcleascd Ms, Webbor to her own apartmcnt located at775 Pershing
                          Avenue, #?A, Glen Ellyrr, IL 60137. Conditioru of the release inoluded the followingl
                          u?etitioner admonished that she sholl adhere to counseling requircd; shc shall
                                                                                                           submit to
                          alcohoVdrug testing as directed, including through the Probation Deparhnrnt; and other
                          proposed terms of thc conditional discharge as were $tated ir the Memorandum datcd
                          Septcmber I8, 2019.'* On l2120/2019, The gtate of Illiflois Appellate Court's Second
                          District granted the State's Attorncys' smergency motion for stay of enforcement of the
                          trial court's l?lll/?019 order directing Ms, Webber's conditional rclease pending
                          appeal, On 12/23/2019, Judge Bakalis ordercd Ms. Webber back into tlie custody of the
                          Department of Human Seliccs pcnding the appeal. She wus subsequently readmitted to
                          CRMHC oa12/23/2019 to await the outcome of the appcal. Accordingly, Ms. Webber
                          was retumed to CRMHC on what amounted to a legal technicality and r:ot because she
                          did not conform to thc rcquiremsnts of her Conditional Release. She did not fail her
                          discharge plan, nor were therr any reports rhat hcr psychiatric status had deteriorated
                          siguiflrcantly during that epproximatcly Z-week tirne interval.

                   II.    BASIS   r'OR CONTINUED TREATI\TENT
                          Per the Unified Code of Corcctions (730 ILCS 515-2-4): A person acquitted lrlot Guilty
                          by Reason of Insanity is in need of meutul lrealth servicos on an inpatisnt basis if "due to
                          that rncntal illness, lthe individualJ is reuronably cxpectcd to inflict serious physical
                          harm upon him or herself or another and u,ho would benefit from inpatient care or is in
                          need of inpatient care," The Code flurthcr specifies that "lf tlre INGRI] defendant is
                          found to be irr need of mental hcalth services, but not on an inpa[ieflt cffe basis, tlre
                          Coun shall conditionally release the defendant, undor such conditions as sst fonh in this
                          $ection as will reasonably assure the defendant's satisfactory progrcss and participation
                          in trcntmcnt or rshabilitation and the salbty of thc defcndant, the victim, the victirn's
                          family members and others,"
                                                         -> {6        Af,ZOnA
                          Follorvirtg our exrended            ofher                      ition and treatmffit nesds.
                          aswell as our affit                                                    Team is of the
                          opinion that             is no lonser in          iEpationt psychiatric hospitalization nnd

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                                                                                                       90-Day Report, Marci Webber

                                  that her mcntal heslth needs could be better addressed in a less restrictive outpirti€nt
                                  treatment environment. Ms. lVebber bclievcs quite rcsolutely that slle is not suft'cring
                                  from any major affcctivc or psychotic mentel illness but ackrtowledgcs thst she does
                                  have a significant trauma history that would benefit from ongoing treatment, She has
                         t      I nevertheless refused to routinely work with and interact with rnember$ of herTtcatffient
                t|\.,,1g&   j   I Team     in u corrstructive manner and hss been quite re$istant to participating in individual
                                I psychothcrapy         at CRMHC. Tlrat said, at the piesent timc, shc pr"r"ni, with no overt
               "X.ryhd
                   . \%ir"rltindications           of any major mental illness, such as a Psychosis or Major Mood Disordcr.
                   il"-
                   ,.             Wlrat   symptomatic        indicators Ms. Webber does present with at the prcsent tirne are
                                  much mors suggestive of outstanding clraracter ptthology (i.c. a personality disorder). It
                                  remains a concem of the Tre{tment Team rhat her ability to mflnago her day to day
                                  social and personal interactions will be quite challenging however; the possibility of
                                  sincerely amcliorating symptoms of a personalfl_4qorder in an inpatient setting would
                           ,J, -bebe wholly       unrEalistic. rJl/hile
                                      rvholly unrealistis.      !l/hile pltarrrraccrtherapfrrigblhmelioratc
                                                                        pharmaccrtherap(piq!ftmelioratc_sourc           sourc of these
                   {M'{         I syrnptonrs,      intensi\,e  psychothcrapy         rvith  a clinidi-an  whose
                                | are commensurate rvith these types of disorders would be the most effective
                                                                                                                  level of expenisc and skill

               _ .rEl           I intcrvention.
                                  IrrLslYlilttlulL, Ms.
                                                      IYID, Webber's    tr(illil'vltJls ttlall
                                                            YYEUUq;I $ behaviors               are routincly
                                                                                        that Alg              described by
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                                                                                                                          Uy tearn      llltllluEils
          QWi!*.L.r,
               ,#fu               involved in her ctre indicate thet shc continues to ,*,ooin exceedirrgly confrontational
                                  (verbally). and that shc frcquenrly'engagcs in I.:afrsslng, agB+Sirri. oRRogitional,
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                                                 orovocative- aEElJIIls,
                                  intrusivc. provocarrJe,
                                  staff and patient pgr*. These types ',Tlk?,
                                  :liP,eff
                                  imrlv that Ms. W&bcr
                                  imply                 W6bbcr rvill necessarilv
                                  henelf or othcrs. In fact, she has
                                                                                              i*'mr.f;ffi s:xi .
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                                                                 antasonistic. proralle,         deropatonr ano     demeanins exQnang€s
                                                                                                              and oemeanrng
                                                                                    of behavi<irs (all-bi th"ygi$-rygglj5) do not
                                                                       necessarily present
                                                                                not
                                                                                          nresent as beirrg
                                                                                      lniiiatefany     physi-cal
                                                                                                                                 e-xchanue wr


                                                                                                                  imminent ohvsiEal threat
                                                                                                       beinu an firminentphysiEEl
                                                                                                                 aggressio#ioward others
                                                                                                                                               threat to
                                                                                                                                                      t


                                  while at CRMHC, Although her behsvior (whether intentional or not) uan at timcs
                              ,/provoke aggressive rcsponscs frorn others" she does appeirr capable of sontrolling those
                                  types of impulses rvithin lrerself, Ms, Wehber explains herEEb{pgtriggy of reating
                                    otherstobeatypeof..defensemechanism''sheuseswhen*I'"%g6Uft
                                    mistreated. She lakes vcry littlc personal responsibility for               frflof    the abenant     belravior            w3.a1;1,-
                                    she exhibits, and shc                                                                         ibilitv outside ofE f u{hl
                                                                                                                                 she has            t .tfilA
                                                                                                                                                    ?Lnrf,tr*
                                    victirnized by IDHS, the doctors, the hospitals, the legal system and the pharmaceut_ical
                                    industry,
                                                                                                                                                           J
                                    Ms. Wcbber has                         narrow arld




                                    substance-fclatcd nceds that require onzoinE intervention seryices in the communi
                                         ionally, Ms. Webberrylust improve her collaboration with the Treatment
                                or.otffiEiffi                 rft;.;;; ;i;t
                                         reed to be able to creaitm[frE?:[ ,i'ii,uur.
                                                                              verifiable and validated aftercare nla
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                Y     -"5,                  were assessed by Ms. Jcnnifcr Nlieszala, LCSw, CADC from

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                                                                                                                          ;773-134-:-rS=7                 4      J.,'   lt



                                     -fl;}ffi.'                                                       90-Day Report, Marci Webbcr

                                              a breathalyzer and UA test however; both Ms. Mieszala and her Trea.tmcnr Team
                         '                    from CRMHC reeommend that sho follow up with Dr, Bauhof and allow for that                                                            I


                         ,,#,fr1i**[iu]"*ffld#,
                                        ,,    clinician's ongoing assessment of both her mental health and substa



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    6'       /          O,g   YO'V. '"       Ms. Webber rnust also cooperate rvith allowing staff to contact any othcr -lci*+tfuaJ ,
  Nf  I $or^t                                appropriate     c                                                           ffie
                                                                                                               tommuniry so ir, bc.-
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                                             as to discuss our treaEnent                   fe-o.- the Front Door
                                                               treatrnent recommendatiorrs (e.g,,                                          Proiact). -(l.3d-f
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                                 {-rfu       her plans-of horv she rvili seek out and/or sustain exisiing funding and financial
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                                                                                                                                                                ,*ltJldl;
             \                    Cr.{                                                                             will t ferrV
                                             support for food, clothing, shclter (as well as othsr life necessitics). This
                                                         to sign anf.rrgtrriate Releases of Information to peryit these contacts.
                 \                 Y      IuJr!:: f9r
                                   4. ^;, Mr,                                                                             7, fr,,b'l
                                              Webber must collaborate rvith hsr Treatment Team in crafting a realistic ;rd-
                                    ffr, discharge recovcry plan that rvould help her te manage hcr daily life situations *tJL
                                             f,:flJi[:;:':U[i:T'.*tosubstanccabuse,viorenceorsuicidar
                               %
                               *ti:                                                                                                                     -iiff
                                       webber's
                                    '1. Historvarisessment        is bascd on the       following:                                               ' -''# Hih,,
                                                     of Dane"eJgusness to Self and Others: Although Ms. Webber has reported '
                                          experiencing no recent self-destructive idcation or intent, it is imponant to recall
                                          tlrat she has in fact made viable self-harm sqstures in the past, Shc has twicallv lt/a t
                                          descnbed thc prcclpltants
                                          describcd                         th behaviors as having bsen related to iatrogenic *i'llo
                                                           prccipitants of tlrese                                                                , '"

                                                                                                                                                         - ;vflq
                                          reactions fiom variou
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                                                       rome oflthese                 clg?'tlVEq,|rr4dufing timo intervals when
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                                                                 these gcsturcs had                                                    ,-                  SA,;'lt
                                        I Drls                                                        W-ebb                                           "'' -Y*9'.

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                                                lYds receivinc
                                          she rvas   rEvslYlIlX llu  such medisatidim.
                                                                 no JLUelMlgUlV4llUIl. lvl$. vYEUUtiI illlQ ltAD Alt tqgllllllGU ltlSl'Ul'Y G -
                                                                                       'iiaddition
                                                                                                    to thqne                   r*i;bil:il;
                                                                                                                                 il;*
                                                                            i-nmood and perceprion (i.#iffi'ttffilit!, i3p.lll4!U,                         iffi
                                          affective lability,             mood srvings, mistrust of others, ctc.). While these
                                                                                                                                             F"t"loF
                                          symptoms can be                      I        Disorder and/or a PersonalityDisorder, ftrdr..{ft,y\

                                   2.        l::::i::T*,:'.'];:::I::::liy,:iT:::*f
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                                             Mood InstabiliMPersecutory Belje[Svstem{l,nterpersonal
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                                                                                                    Skills.Defi-6ilE; Mfl
                                                                                                                          -ffi:
                                                                                                                         r!          . r rr.,   r      -qgltCz
                                             Webber continues to exhibit
                                                          that allows her to                               biliW for conflict outside of               funa-,t
                                                                           ts   recurent                                                        -   ":l Torluu.'
                                             staff und peef,s, rvhen she believes she is cither bei                                               rted
                                                                                                                                                fCBt€Cl il"-7
                                                                                                                                                        r,    /
                                             or "hurt" by their behavior. Shc also continues to                           e   with                   *nFrYlf-
                                                                                                                                                        d;?difu,.
                                                     ing appropriate boundaries between
                                                                                                                                    rlfl;<**
                                             gslltiJ${thlyeveri        she has been                                       lli#:*n
                                                                                             alcohol.free during.her inpalienffiT
                                                                                                                                  -
                                                                                                                                                              Ucc*nr<
                                             outside of hospital custody. It is stilt betieved by her Treatment Tcarn that                          she lrLr/r*-#t-
                                             ;;;ilG,;;i?; ;s;t;s;;;t;;;,                     J"'pri" r,J'i,ir-l'ii"'3i.'" iqqleJit              Ji lrk4{,isni
                                                                                                                                                    a thrL
                                             arrd                           active) desiro to ever usc alcohbtn'
                                                      ng substances.                                                                   she would be
                                                                                                                                                     tlrtttlxrs
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                                                                                     90-Day Report, Marci Webbcr

                                       Nott-co mol iance withJrgat me n c and rreatmen t Team_Recorn.Ecnd at io ns : Ms.
                                       Webber's Treatment Teanr is still concemed sho remains reticent with her belief



                                       ffi*iT:;;i:Tl*;'ffi>Mr
                                       that she has no identiliable mcntal health disorder (other than a significant



                                       recommendations fron trsfitrncnt personnel to participate in individual thcrapy 6w *S   atI
                                       and consider taking psychotropic medication to help mediarc her      mood       fr- i]^'-' '
                                       instability, slle
                                       rllulaolltly,     llas qeAllntrg
                                                     she has            to qo so Wnlle
                                                              declined todo             in me
                                                                                 rvhile ln the hospital.       did f 3f,
                                                                                                                  she ord
                                                                                                         However; StfE
                                                                                               nospltal. Howevef;         N- ; ;          ,


                                  -    comply with two outpatient individual psyehotherapy sessions during that  prior i?'!
                                ,f-    atuelt Lricfconditionat releose and participated in one substonce   abusc            t@lg .
                            ffis                   j.X';ii;Xr;xl;:T"i,i#l'If;ff:^:x;"Ji:ff              };t:l'JJ:T:Jfu,
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                                                                                               wlffi {}{l?t
                                                          recommsnded that Ms. webber participate in at leir.st
                              N-       individual psychothcrapy sessions that will also involve a monitoring of possibl"   ]!Yfb.1.f f.f'lor'
                                       substance use/abuse and allow for ongoing drug and aleohol testing.-.,+.ltliougir   r(,-
                                       mooa-art#l
                                       Ms. Webb

                                            history.
                                       an cxtensive trauma
                                                                                                                        \[.#t'#,
                      ru.     TREATMENT         SERVICES                                                                         ryr*
                                                                                                                                    I-
                              A.       Following arc arcas and issues targeted for treatment:
                                       l.     Moodinstability,Wandint:rpersolq!rkills

                                       ?  W                   *lfruab.*t      op"{nE.1 *\r.Anil=*,.r.
                                       3. Mf:AaAEmfumrr!,orriiili-n'a rriatment rEuiiir&rr"-rniiiiil!
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                                       +, Eom-ffir                 Gt e       r
                                       s. ZEilir-ffi-r?ik*fi';indrEt.p*"preventiorr qL 4lzot*\ts'*-
                                                                                      ,tr*I*rqrd,L
                              B.       Following  is n description of the services recommended tbr treatmcnt:
                                              Individual sessions with Psychia.trist to discnss treatment optious and
                                                                                                                     ab*,lto(
                              u               monitor symptoms
                                                                                                                           Y?l^.L.
                                              Prescrihad Group Thcrapies: Daily A.M and PM Comrnuniry Meerings;
                                              Daily AM and PM Exercise; Solutions for Wellrress; Symptom
                                Y,,r          Management; $tress Mauagemenforr hold; Anger/lmpulse Management;


                            ;W                Moving Toward Change and Relapse Prcvention with FIAS personnel;
                                              AA-on hold; Goals; Recovery; Crcatiye Expression
                                              NOTE: Although on-unit groups resumed on 10,2612020 facility-wide,

                             u                thc groups on B-South remain sornervhat inconsistent due to almost
                                              continuous
                                              being imposed since
                                              Personal Safety Plan
                                                                                          to the COVID-I9 pandemic
                                                                                                       .*;.{b,..-k:O
                                      4.      Case Managem ent Sessions
                                      ].      Medical interventions (labs, rnedications, etc.) as needed




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                                                                                                                                                ll




                                                                                          90-Day Report. Marci Wcbbcr

                           C.             Following arc the goals of treutrneflt and thc anticipated tinretable for
                                          these goals:
                                          l.                                                   ancl _ , I
                                                 Ms. Wcbbsr rvill handle interpersorral conflicts calrnly, respectfi.rlly
                                                                                               andlf&xit-
                                                 witlr maturity and will have no morc than one episode of screarning
                                                 swearingato[rerswhenslreisangry(Targetuate:zzrlffir.aet,SM,
                                                  continuc
                                      2.          Within the next two weeks, Ms. Webber will attend 100-0/o of scheduled
                                                  Impulse Managernent Croups in order to leam stratcgies for rninirnizing
                                                  hcr angry lqrlburcg_ond dealing rvith rregativc emorions (Target Date:
                                                  ZtZSIZOZTIffi-orp ruup*nied duc tI unit quarantinestafrs.
                                      .).         While in Impulsc Managerneut Group, Ms. Webber will actively
                                                 participate and discuss her underxtarrding of the principles/straregies
                                                 tuught and lrow she is applying thesc principles/striltegies to her own litb
                                                 (Target Dala:212312021): NA, group suspended due to unit quarantine
                                                 status.
                                      4.         With < I pronpt from stsff, Ms. Webber will focus on hor owAiEquq:s and
                                                 Ere&imeni versus rhat ot-her peers both on rire r@
                                                 authorize@                               report and staff obsewation and thc \
                                                 absence. o f pecr sn d /or famil v com D I oi$illa t sheigigsi4lsliu{iltgl:slt
                                                                                                                                 )'Fata^L
                                                 into rheir rreatment prolie-*ffT0B,a or rhc irme ( I arger-Date; .
                                                 2/2312021): Partially Met, continue
                                                 rVs. Wcbbcr rvill rneet with her psychiatrist I x/week to discuss hgt
                            Ho
                                  i;;* i[q$j:
                                 4{di[                      abour her rnental health aid   treat@oz                             r;:

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                                                 tuer,$H.::i,1":"1#3tEi5ffi
                                                       olsconunue (Nu I tr: sc,sslonsI#1H::I*,H$::;
                                                                                             connnue, noweve0
                                                 Ms. Wcbbsr rvill aitend at leEfS-substanco *bur" relatid groups per
                                                 week (e.g., AA, Rolapse Prevention, Rccovery and/or MISA) (Target
                                                 Date: A21120? I ): NA, groups suspended due to unit quarantine status.
                                      7.         Ms, Webber rvill activsly participate in substance abuse related groups {rs
                                                 evidenced by rharing her past difficulties rvith substance abuse/
                                                 dependence, acccpting feedback fiorn the leader and her peerx, offsring
                                  '              constructivc fqcdbask to her peerst and discussing her planr for future
                                                 sobriety (Tuget Datc: ?123/2021): I,lA, group$ suspendcd due to unit
                                                 quarantinc status.                                                            )*
                                      o.
                                      8.         yyrrnln the
                                                 Within               months, Ms.
                                                              next J3 Inonlns,
                                                         rr|E nexr                wls. Webber   will oel,elop
                                                                                       weoDer wlII   develop E wnltsn
                                                                                                               writtsn relapse
                                HI=^t          . prevention   plan that  addresses    triggers to drinkirrg,iow  shc will manage

                                . fi;*r
                                                    I utgcs to drink, and    qhatqgatment
                                                                        .nd y_h*!              sh.  *lU
                                                                                    tqguj*"nt slp,yilleceive    to monjlor and

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                                                 1ny l.guu.
                                                 (@
                                                    intdu her sobriejL(if
                                                                            I ): I{g!Sgt, conttnue

                                                                                                          $^\il|br
                                                 Ms.Ivcbbcr will cooperstejm substance rbusc evaluation conducted
                                                                                                            ffre
                                                 by CRMHC contraotuol staff frorn Healthcare Alternative Systems (HAS)\
                                                g::t:"i?:'::,"1#-l'.Y,,1f"':*'::::l1ll:yI'*'fl'..ll:Ll1T:i*
                                                iono-uct   an
                                                 used alcohol.
                                                                evalu%fiTi;ause it    has beerr so Iorrg since Ms. we6ber Iryr
                                                                                                                             an
                                                                                                                                  dA*
                                                                                                                                  o*ficli
                                      10.        Ms, \\'ehber rvill collahorate with hor Social Worker to identi
                                                a
                                                 DTITl'ZTy/aUNr: NA, discontinue.
                                                                     discontinue.        @al                              witlr
                                                subetrncc abuse will not eerv6 lvf$. webber givcn tlre length of timE is han
                                                been sinee she last used.
                                      I   I.    Ms. $febber will attcnd all prcscribed/reconrmended groups at a rate of
                                                no less than 700rt per month. Groups include: Anger/lrnpulse
                                                Management, Psychotherapy, MISA (aka Moving Torvard Change and

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                                                                                      90-Day Report. Marci Webber

                                              Relapse Prcvcntion), AA, Goals, Recovery, Stress Management,
                                              Solutions for Weltrtess, Symptom Mauagement, and daily AM aud PM
                                              Comrnunity Mectings (Target Date; 1212312021): NA, groups suspended
                                              due to unit quarantine status.
                                      12.     Ms, Webber will_di                    as rcported by staff fbr thc next
                                              2 wccks (Target Datel i 3/202t):           conrinue
                                      t3.     Ms. Webber will eat her      in desi     qlqq(s) for mealslsuacks for
                                              the next 2 rvccks (-lEigE                            corrtinuc
                                      14.     Ms. Webber will retiain ttom
                                              next 2 wecks (Targct Date:2[23/2021): Pertiaily Mqt. continm

                    ry.
                              v"ry tt-rtt.d er"g.-*                   with Ms. Webber's interpersonal hehavior since 6iSiliW
                                                         has been noted
                              the timc of her last reportjng period. Hcr general demeanor toward
                                                                                              vard staffand     peerstdlf
                                                                                                                     'tllA e.".&t k.              R.J
                              continues to be repoieotr 6Jing rather histile and di            to the milieu.   Shc  (crt)                          i+l
                              cortinues to persistcntly challenge unit rules and rffilationsTy slgllggi.llUUfrliUg"                          li\if,ftpSr
                              eJggsqiycamou,nts of lqllltdoquments/paperwork, sn8ck$, personal              lwgElS-E   cr0t t\i' m,
                              and other itenl* deem                                                                       lh-
                              contrnue$ to Peflodrcally rnterlere wltlt tlle cltnl            n                     t_ _        upf
                                                                                           or -to challenge
                              madc either           r-nistration or by treatment personnel (such as restricting acccss to

                                                                                                                               of ut-
                              risk
                               irtervention of an acut                   red naticntr:cer. The behavior Ms.
                              contrnues Io                             VcryEcgatively influcntial, such as posting
                          t   a.r"qatorggd.tr+.J","u         -to,u**   out treatment persorulcl on lrer door. rygijiqgl
                              gglls odgrju.g staffand pccrs to not disturb her while shc is in her room, staying up
                                                                              rlcd milieu
                                                            nreals and sclredulcd  rnilieu activities-JVls.
                                                                                           activities       Wehber also
                                                                                          ,   :i-f+a'f<.r^fl,f.rat\r-
                                                                                 call ner legal counscl or tnEolatoll; to
                                                                                 rnistreatmcnt by staffol peer$. She also
                                                            nt                                -
                                                                      and confidentiality by self.      ing the rccording
                              o{_euditqry exchangcs                                                    fl
                                                                      leaal             (or through use
                              voicemail)                                                recordcd. In response to her
                              bchavior,        ofhsr                      ained of her
                              treatment                    I as her            arrgry prCsentation, arrd certain of her more                         a

                              impaired peers have
                              behayior is
                                                                                                       Again, Ms. Webber's
                                                                                                     nality Disorder as
                                                                                                                                              'e4l
                                                                                                                                              tl,4l4-         I


                                                                                    er. tEf,.ta--ta
                              opposcd to un

                              Community trips to medical appointmcnts during this rcporting period hove includsd the
                                                                                                                                       lce
                                                                                                                                              r{s
                              followirrg:
                r             l2ll2l20J,p: Optometry, Fahy Clinic in Chicago. Ms. Webberrcceivcd glasses and paid
                                                                                                            ore ex p ensi v e p ai r
              No*Atr                        :[: l'.TLH':l:'ffi ]J*';$1ili,s':::i:i"fl           i[,:

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                                                                                          90-Day Report, Marci Webber

                     Summarv of Scssiq,nsJ*'ith Social Worker/Casc Manageq
                     According to Ms. Esther Ellison (Ms. Webber's most recentl,v sssigncd Soeial Worker
         r           and Case Manager): "My brief experience so far working with Ms. Webber depends
         [, J     /Jpgg@trgggs. Most days, she talks about thc past and how much we are hurting her
          lY-
            rhrt \!n      u loud tone of voice), On somc particularly bad days, slre witt makc threats of filing
           U*f  c    to the 'Federal' court on mc if I do not comply with her immcdiate requests (such as
                   copying
          -r,,L?l{-t                                                                                ). When Ms.
        Wfrill%.     wi:UUei is in an ok-ay mood, she has been appropriate with me and rcccntly even thanked
        WTi{
         r.E         me for helping her stating that 'rvhen (she) says things, (shc is not) saying it personally
                     to me.' Ovcrall, I rnail things and fax and copy itcms for Ms. Webber," Ms. Ellison also
                     listcns to her vent about previous coneerns.

                             Summarv of Scssiqfis-yith Psychiatrist
                             (Pcr the report of Anatoliy Pyslar, MD, Attsflding Psychiatrist for CRMHC's B-South
                             Treatmenl Unit) the foliowing opinions are tenderpd for the Coun's review:

                             Dr, Pyslar reported having had multiplc cncounters with Ms. Webber over the past three
           _, *|,            months, and her response to these encounters ha.s beert quite variable, ranging from
          I*! 1" , 4         ::Tftiant
                                        and cngaging to defensive,
                                                                   TgV
                                                                         *q derogatory. Dr. Pyslar noted that lvls.
          '(At     -         WuUUer has been more forthgqrntpgrvith ri:Sard to corning to tcn; with hcr daughter's
                  -l
          W:deathandtirecirc,.,ffi,ltthe-beginningofthisGurrcnthospitaiizutionhere
                             at CRMHC, Ms. Webber appeared to be in sigq!                 cmotional tunnoil and distress
                             when thc touic     of                                        . une wa5 Prone to exprcssmg
                             more snger           possibly some unco4scious           toward herself), as well as b-lqrui
                                                                                                                   Dtamlnlz
                             _othgls.lirr her situation. During  recellr mon                           that Ms.   Webber   ffis
                            --
                             expressed    rge.5g1pggpg.iflte and  productive  emotional  responses, includirrg  sadncss   and
                                    nnce ofler ilrcum$tanc,es, This has been in contrast to her nrevious oresentation.
                                    Itag oEEn mofc rogusgg on an exPrgsslon or                                              .
                            tnwillincross'to proccss the events ttrai tea to her daughter's untirnelyffi-r:ff*
                             general, she swms to be utilizinu-bettq.csoingskills now wherr dealir:g with that loss.
                                  Webbsr appearu to bq                                                         fl Dost0ve
                                    ion to her situation.              so verbalized that
                                                     ;;riH:   rffi-il      d;.   ffirld   ffi'ffi;ril; ;ffil#ffiil',W,  'i7.",/ l.0l
                                                                                                        rnwsuit she has
                             Dr. Pyslar and once came to inform-hilr tlrat he-had heeruedded to     rhe lawsuit
                                                                                                 ro the
                             rcporiedly filed against tn* nTi$5ffiilft' i6"0'.EfiffUurageti rp-Lh&qarrircry, Ms.
                                                                                                                              hUil:l
                             ,Webber will continue to exprcss her belief that "You guys will neve!}lttffit out of herel"+tp1l
                                                                                                                              '!oit.lt;
                                                                                                                        toq*54 ,^
                             and tl:at tlre clinical team is forever being rnanipulated bV .Ligl5tadrninistration"
                             ksep her detaincd in the DHS. Despite f,Ir repeated vcrUatifiilffiof helieving that         rvc       '/q
                             "will ncver let (her) out," Ms, Webber has on occasion been able to express some rr-l- | L r
                             realistic hope that these circumstanccs may                                              "n fl I
                                                                                   nfiffil-tr"if'        she   weretobe 4"sn
                             released, Ms, Webber has spccifically stated tlrat she would bc amenable to seeking out
                             indivielual therapy. Ehc would not be willirrg to meet with an addiotionr courr$elor
                             howevor; stating that alcohol use would not be a problern for her again, as she
                             understands that substauce use rvould havc a detrirnenHl effecl on one's physical and
                             emotional wellbeing, She also reccntly mcntioued that she would consider attending AA
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                                                                                   90-Day Report. Marci Webber

                             W1ren asked by Dr. Pyslar i{tshe had bcen regretful over her actions at the time of her
                             charged offense ten years rgo she declared, u'Whil do you thi$I? l'm not t ffionstet!"
                             and "l would never have hurt rny child had I bccn in the riglrt $tate oFmind... I would      *
                             never hurt anyoucl" Ms. Webber rcported her belief that at the timc of her index offensc\                  t,
   It-il,:-.-^1n",
               - j :1',:':*,:"'::"1*::::":1,I:T*::';:,Tll
                   - *,":':":,:-'::"tl*::::":*,iiT*:l';:,Ti"irili":li.11T':::11,:l:::iil:H:'i:J:,3
                     -
                                                                                                   )-y,*
                                                          "ff:l:.":li"1i':':::'.1,:H"::i::H:'j,.:, fi, -t 's
                                                                                                             -
                             numerous psychotropic medications she had cithcr been taking or rvithdrawing from at

      }(.664ffr;f:-'l'^,T-',::,"'""-::111'r.s'"lY*-::T [:ltgilL-]::hIP:,'-t:13l, -,'&!to>..
        Tr                                                 the usc of mu                                 particularly
                             multiple ant                unopposed stimulating         Dr. Pyslar has discusscd that
                             'opinion
                                      with Ms. Webber on numerous occasions, as well as the possible usc ofgopd;



                                                                        ;:r-;ffi;r1-r"-, i" aunt. uacle ond , uiu;l%/
                             Slre reports having only occasional   colta        em: mqstly in the fonn of receiving n*g*+


           u.}r^1cs,whoreporreciiyresidewithini-2irours,ffl,-,                                                      Frffiffi
          -;;1.{_ (driving distance) from Glendalc, hZ. Dr. Pyslar also spoke of receiving some rerent rylrf A
         "Htf llt.l  ffi xTlil1:::;fr:ff
                     rtas.                                      :i]l;li:,":'"Xi'"HT:'il:[:11,ff
                           wcbUer"s who rvould be available to heip
               '.t / AZby providing trer with"Yi::1x,:;,T['f,       "Marci get back on her feut'in Otrna"t., ;T
                                                "everything she would   nesdo" such as a car, a telemarketirrg lffl
                   " job, medical benefits, ctc, Ms. Comiciucalso mentioncd that she lras a"psychiatrist who
               VU.T Lo*.* to hcr group home to see patierrts therc (and rnight possibly be abloto see Marci) fuilnU
            ,)tl*
            .flflatt if n move out of state woultl be decmcd plrusible,
              fri{'tt'       3,TI,H#:tT,'":IH:J#,l'ij:"[,;H:*rj:H:l5'"H':1,'.#:Hf-::r'"cncing
                             hallucinations, In $hort. she rvss not observed to be psyclrotic, grossly disorgauized,
                             manic. or clinically dcprcssed.

                             Dr. Pyslar opines that Ms, Webber's bchavior and clinical present*tion hcrs at Chicago;              1
                             R.ead(overthis]a.streportirrgperiod)Irashad.ft*ul,o.
                             when cornpared to hcr previous presentations, Neverthclcss, she continues at times to bi l;; T
                             defiant, oppositional, argumentative, etc., yet shc has still not engaged in any physicalft6l-.1"
                             aggtcssion to*rard others; uor has she engagcd in any recent bohaviors indicative of

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         O.l$-i              ::ii*:
                             pattems :i'1"*,1::
                                     of           H:l       J:i
                                                       3; frorn T^i.T:li}q
                                        behavior fluctuate                    :Y::r'::,}-,}:l   Yr; -Y,:3 of
                                                                being iocially appropriate to exhibitions   5'''
                             mglpdantive Ehayigr thatoffs.n-hlerfere with hg treatmcnt and functionins. and as
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                             appropriate to monitor.Y':]:l!:::i.:11':llp,':li'-:lol:::lyr'1l1'.,l":1',=T111*uvrHh
                                                       and assess her behavior for a r"asonubb lengtli of timc in     lA t lot
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                     I\-,order to reaclr a substantiated clinical opirriorr.
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                                                                                      90-Day Report, Marci Webber

                         Currcnt Il{edications:
                         No psychotropic medications flre cmrcntly prcscribed for Ms. Webber. Although it is has
                         beerr 5uggested that shc could possibly benefrt from at lea-st the introduction of a mood-

                                                                  (ii
                       LS$pi I izingjgent, she refuse.s to- take any psychorropic mcd i cari on.
                   s5ffi                                                   g.:". (      T &cs     d
                                                                                                      n*u)
                         Primary:      =ffi,"d{I*:
                                        Y"-p.',,f-aPjegF.qiiffi(inftll.remission_)
                         secondary: P"tsg"$r, Dtrm%U"rp"Etfied. with gorderUlgrNarcissistic                          and
                                         lE.ranoidFeatur-es ; Ai coh o I Use D i s   orderffi                    o nr   ro [l cd

                         Meclical:                  of recurrent headachesn chronic ncck pnir/dogenersriveioinr
                                         fir_Tffi                                         rS D*hr"tT:tE<s ffrari*
                  v.     PRrvrLEcE       srATUs                                                              t/-sl$              a'++tr/\
                            Ms. Webber was issusd Patio Pass privileges on l2l24l2Dl9. Shc rvas also issued
                            Escorted Crounds Pass privileges on 1212612019. Pcr advice received from DHS
                                                                                                                             '
                            Counsel, CRMHC was instruclcd not to pr*it      ur                                                          l5r{-
                           Grounds Pass privilcgcs granted to her by Judge Bakalis during hcr previous admission
                                                                                                                               lnc
                            tO CRMHC IVi
                            !o 9RYYC ]vilJ:{lt]|.ttheilEsqs               rear@s.
                                                                dFcisign to                               On UZgtZl?^ t
                           Judge Bakalislndicated that he had no ju-:isdictional authority over Ms. Webbcr'u ,uuf' nfui1y',E^
                rtt-    // at  ur&[ time
                           +r1 that      wfrile it
                                    nmtr while  lr was  ln the
                                                   lvos in Ins Court oI AppoalSr and
                                                               Loum oiAppeals,   ano thus
                                                                                     urus he could
                                                                                             coulcl not enter     (Jrders F<,,
                                                                                                        entBr any Orders                ful
             %$            including those related to her request for Independent Grounds Pass privileges, As has                       -f&-j
            $  lU"tJ
             r iri6{
                           been noted, sinos the onset of the COVID-19 pandemic, all patient pa-ss privilegcs and
                       \ all ofFunit theraueutic nroorammins have beerr temnnrarilv srrsnondcd\ I - - r.
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                 W. PLACEMENT                                                                                                             T
                         Following a prolongcd essessment of Ms. Webber'.s merrtal status and her continuecl
                         need for treatment, the Treatment Team is proposing that hcr continued inpatient
                         commitment does not aDnear to be achievi                           Ie henefit for her. Wc
                          ave exh                   of trying to implerncnt intcrvcntions and trca
                         belffiil'tld                                                                          fr;
                                                     Enefit to her. Ms, Webber obliged herself to very little of
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                         d:r",rq-ffi                                             qontingency medications or
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                                                       Team is aware rirar Ms.       weffis
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                        chances of an NCRI acquittee pelpehating another offcnsc of this nature are extren:ely
                        rulv. Thcrc
                        lgw.         is rrornlng
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                                                       Ms, Webber's   cuncnt Gllnlcat
                                                             weDDer.s aurTctlt clinical presentatlon
                                                                                        presentation I0to sugge$t that
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                        she is at any incrsased risk lbr hanning hcrself or others. Her behavior can at rimes bc


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                                                                                         90-Day Report, Marci Webber

                              int*n.0tffiffitil"      l'rowever; such behavior is willful und goal-directed arrd once
                              ag@uctofmaffcctivcorpsychoticmentaldisorder'.AtJtlte-Pl-esenlz
                               time, th
                I            . restrictive environmeflt that would help to keep both the patient and tie community       safs'trtr-
                 ,,l^,</tut'.\ilcbbcrhasa1waysspokenfavorablyaboutpriorsessionswithherffi-
           5l!rytt f          therapist Dr. Bauhof and has reported a willingncss to continue seeing this clinician and        ;-E-
                                                                                                                               t(tr.
         , {*l)P {            to follow any adflitional treatrnent recommerrdation.$ aftbrded her tiom thar thcraoy base.

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      . -r-ba- IU)'      the   hospital   at this time to rvork collitboratively with her TreatmentTeam to create it|         ^
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                              conditiorral relea$e, Ms. Webber would require orrgoing weekly individual counseling,     Wl ,
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                              substance,rbuse treatmcnt and random drug and alcohol testing; and if living

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                     VII.    QUALIFIEDPROFESSIONALS RESPONSIBLETORTHE IMPLEMENTATION
                             OF THE PLAN



                             Esther Ellison, MSW
                                                                                                                               fdi'fi)
                              $ooial Worker II




                             Anatoliy Pyslar, MD                                 Adebisi Olasinrbo,
                             Attending Psychintrist                              Clinioal Nurse Munager



                                                                                 Robert Sobut,
                                                                                 Medical Dircctor




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Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 78 of 87 PageID #:78




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                  Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 79 of 87 PageID #:79
                        P(wftng
                        9a,il1\t-4.




    Each note must be dated and        ned
   Psychology Progrl
            :Atremptedffi    ffi-"*E*fJ,ffi m1&,
            to review some of what had been addressed in our weekly teleconference with Central Office and to review some of
  ,i
  7f
            the concerns that had been expressed about her decision to ignore Judge Bakalis' previous mandates about her
                   to become fully involved in treatment and to stop treating staff and patient peers in an abusive manner. Writer
     .    , need
            acknowledged that the Appellate Court was now overseeing her case and her treatment i
            that this was no reason for her to ignore what the Circuit Court had instructed her to do. Patient
              er lack of a sincere application to treatment could be interpreted negatively once she eventually
            for a Conditional Release.

           D:Patientwasinitiallysomewhathesitant,",ttfrff"ffi[#',M6.h=,#"?,ff,;Hk




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            tgbf,lv" these privileges reinstateO.   ifri
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                                                           patienNtes+rdinformed that a reqrlest for privileges needed to be           +1^)

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     i$
                                                                               she had no reason to trust us or work w,:n,r.,fr
                                   class, as well as other off-unit aciivitiey'she
\fffi{nPrf;flffiment                                                                                                 with us, as our


-ffi11pnSt'A: Patient waS alert and correctly oriented in all spherds of perception. Her continued agitated derh'ebnor-and -g2.
   J'A'                                                                                                                    ir'"*r,
           accusatorial declarations suggest that she remains rather fixated with her beliefs that her treatment staff have no
                                                                                                                               ^lg,I
   .tr     other desires than to-plolong helnpqlglstal and continue our allegedly abusive treatment of her. Her recent 44        >
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                          any maror mpoo symptoms and reported no re
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From: James Siebert   Case:
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                                             IN THE UNITED STATES I}ISTRICT COURT
                                            FOR TITE NORTITERN DISTRICT OF ILLINOIS



                  MARCI MARIE WEBBER,
                                                                                                                     RECEIVED
                                                                                                                          ArE f a202t             0w
                                    Plaintiff, Pro se
                                                                                                                 cLd,tBffi81$8ffi$u*
                  vs.
                                                                                   ) Case No. l:20-cv-07807
                                                                                   )
                  STATE OF ILLINOIS, et al.,                                       ) The Hon. Charles R. Norgle, Sr.
                                                                                   )
                                                                                   )
                                                                                   )
                                    Defendants.                                    )


                                             MARCI wEB, F4B's STo{TUg.RETgRT.Jho                           -se

                                         1. Emergency Complaint Filed On l2R0D0
                                         2. Plaintil?r Request for Protection from Harassment Filed lngnl
                                         3. Continued Harassment and Physical Injury - Request for Hearing
                                         4. Request to File Discovery Requesb Against Defendants within 28 bays
                                         5. Certain Misstatements in the Letter Report of Dan Gallagher, Esq.
                                         6. Request to Have Acce$ to My Computer for Legal Research and
                                            Communication
                                         7. 90 Day NGRr rreatment plan Report Dated February lgrzozl


                 Prefatory Note; During the time that my Status Report was being typed, I spoke by phone on Tuesday, August 17,
                 2021 with attorney Har,old Hinchman of the Dcntons firm, Chicago. As the Couilmay recall, Mr. Hirschman was
                 appointed by thc Clerk to r€present me but had to withdraw due to the prcss of other cases, Today, Tuesday,
                                                                                                                                    August
                  l?,2021, Mr. Hirschman advised me that he is willing to consider representing my interests in this matter. Mr.
                 Hirschman further indioatcd that he would be able to have a con&rence call wirh tire Court within the next two
                 weeks and extended his cellphone number 3124A7-8026. I would welcome Mr. Hirschman and his firm ro assisr me
                 as I believe he has a good handle on tlre issues that are before ttre Court in this complaint. I shall conlinue with $e
                 finalization of this Starus Report whioh I submit, pro se.        MMW


                          In June 201 2 Judge Bakalis, the Trial Judge in the Circuit Court of DuPage County,

                found me Not Ouilty of any crime involving the death of my daughter, Maggie. Since that time,                           I
                have been subject to a consistent pattern of punishment (which is unconstitutional) and
From: Jam€s Sieberl     Case:
                           Fax: 1:21-cv-05444
                                18472531904   Document #: 1 Filed:
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                      harassment including physical and mental abuse by Illinois Deparunent of Human Services

                      (IDHS) employees and officials.

                      l.       Emergency Complaint Filed on l)ecember 30, 2020: I filed a70* page pro se

                      complaint on December 30,2020, which factually details a pattern of unconstitutional conduct

                      by the State. In addition, I have referenced in my complaint video taped affidavits that I have

                      prepared that I incorporate by reference. These video taped affidavits are swom testimony by me

                      which has been the only effective means I have had to detail IDHS's illegal pattern of abusive

                      and unconstitutional conduct.

                               IDHS's personnel havc failed to intervene and have actually incited mentally ill detainees

                  to pick physical fights with me saying "She is a baby      killer'or "Marci's   going to call the police

                      on   you." I have 5 bulging discs in my neck as a result of beatings while in IDHS custody during

                  which IDHS personnel stood by and did nothing to intervene.

                               One IDHS ernployee (Marva Sftoud) gave me two plastic bags and told me to go to my

                  room and use the bags to commit suicide. I have a photograph of one ofthe plastic bags. Another

                  IDHS employee (Velma Westbrook) similarly encouraged me to commit suicide while in IDHS

                  custody.

                               I broughtthese matters to the attention of Judge Bakalis, but any relief was denied saying

                  he was in DuPage County, the Elgin        facility was in another. Later, Judge Bakalis would

                  recognize my claim that IDHS was falsely charting entries: people signed court reports

                  indicating that I was mentally ill, when it was their opinion and the opinion of others that I was

                  not: If I was not mentally ill, I would have to be released immediately under Federal law

                  protecting my constitutional rights (see Foucha v. louisiana      &   U.S. v. Jones, both U.S. Supreme

                  Court Opinions regarding rights of NGRI Acquitees)
Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 83 of 87 PageID #:83




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                      2   & 3:   Request for Hearing on or before September       l,202lror   my Requeet for Injunctive

                      Relief to Protect My Person from Unlawful and Unconstitutional Conduct by State

                      Employees as      I am being Presently Harmed on a Weekly /Daily        Basis:

                                 For this reason, I am requesting an immediate hearing so that this court can enter an

                  order of protection or other relief from such punitive and unlawful conduct which is contrary to

                  my rights under the U.S. Constitution. I am desperate for intervention and help from beatings

                  incited by and witnessed by State employees who watch and do nothing; seemingly in

                  punishment for a crime I was found not guilty of.

                                 The Cumulative Effecfi The cumulative effect of the physioal and mental abuse

                  factually outlined in my 70+ page complaint fited in December2020 has been devastating on my

                  physical and emotional health. As one of my doctors, Dr. Mir Obaid at IDHS stated: "A person

                  can only take so much." However, the physical and mental abuse continues.

                              Specifically, I would ask this Court to issue a writ that orders IDHS to bring me to the

                  Dirksen Building so that I can personally address the Court as I was able to personally address

                  Judge Bakalispro se prior to his order releasing me from IDHS custody in December 2019.

                  Presently there is a Petition for Leave to Appeal (PLA) pending in the         lllinois Supreme Court.   If
                  they deny relief, it is my intent to refile a Habeas Corpus Petition which was pending before

                 Judge Kocoras in Federal District Court, Chicago.

                              I am requesting such a hearing on or before September     l,2O2l   as it has been pending

                 since January 2020 without being addressed by Mr. Gallagher, my former counsel. He is a nice

                 man, no doubt, but did liule to advance my case and filed a Letter Report without showing me

                 first that contained factual inaccuracies (I never called him 10 times in any day but did call him

                 numerous times in a give week when he failed to return my calls repeatedly.)           If this Court
From: James Siebert   Case:Fax:1:21-cv-05444
                                18472531904  Document #: 1 Filed:Fax:10/13/21      Page 85 ofPage:
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                  wishes, I can further outline more material inaccuracies in the Letter Report at a later
                                                                                                           date.




                  4,      Request to File Discovery Requests Ageinst Defendants within 28 Days: I would like

                  Ieave to   file written discovery within 28 days against the defendants. I would also like to rake
                                                                                                                     a



                                                                                          '

                  (Nof ; I1t light of the-passibility of Harold Hirschman representing my interest in
                                                                                                      this matter, I
                  would defer to hisiudgement in decidingwhat discovery, irauaUghepositions, need to
                                                                                                          be tatren.)


                  5. certain    Misstatements in theLetterReportof Dan Gallagher,Esq.

                           In the interest of time, I have addressed somc of this in paragraph   Z   and 3above.

                 6-    Request to Heve Access to    ilIy Computer for Legal Research and Communication:

                           I was permitted to have my laptop in my rcom at Chicago        Read   with unlimited    access in
                                          _                                              fiqrrt.cff
                 2017. Presently, IDHS refuses to grant me       access to my laptop. I *#{;;..r,            to my own
                 portable internet connection which I would ask this Courtto be able to use to
                                                                                               do legal research and

                 to communicate with my legal team or counset via email. In addition, IDHS has taken
                                                                                                     away my

                 ability to send or receive faxes; and further, has prevented me from receiving timelyraccess
                                                                                                              to my

                 charts at Read; which makes timely correeting inaccuracies, and substantive ones,
                                                                                                   virtually
                 impossible.


                9' 9! Day NGRI Treetment Plan Report Dated February lgr2}zl,strtcs
                longer in need of inpatie_nt pcychietric Lospitarization"
                                                                                               that I am ..No
                                                                                tn"t my i.mentel health needs
                                                                           "rd
                could better be addnessed in a less restrictive outpatient treatment environment'r:
                          The February l9,2OZl Court report by IDHS concludes that I do not meet the standards
                                                                                                               to
                be confined any tonger because       I   am not mentally   ill or a danger to myself or others.      There

                continues to be serious factual inaccuracies in this report that    I   can address at a later time. Dr.

                Anatoliy Pyslar, my trcating psychiatrist at Chicago Read for a yoar and a half admitted
                                                                                                         to rne,
    From: James Slebert    Case:
                               Fax:1:21-cv-05444
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                          "there is nothing in this report they oan keep jiou,locked up with." And after Nsessing me he

                          showed me my chart notes on     April 30,2021, stating: "I rr(ommended your relcase to where you

                      have the most supporl Arizona...either state, oops..;I should have      ju$         said Arizona.n' Then Dr.

                      Pystar resigned. IDHS refused to attaeh that assessment and chart note to a May               I1,2021, court

                      rcport as I requested, listing his name as unavailable for signature.




                      The above Status Report was read to me verbatim on Tuesday, August 17,2021, at2:45 pm at

                      which time I authorized my name to be placed on this Status Report and filed with the Court, Pro

                      ,Se.




                      Dated: Wednesday, August 78,2021




                                                                                     Respectfu   I   ly   subm itted,




                                                                                     By: fs/ Mgfpi M,,Webber

                     Marci M. Webber
                     c1o Chicago-Reed Mental Health Cent6r
                     4200 N. Oak Park Avenue
                     Chicago,lL 60634
                     (773)794- 4A00
                     MarciWebberl      0I   rDemail.com




                     Attached:       90 Day NGRI Treatment Plan Report Dated      2/lgl202l (10 pp)




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           Case: 1:21-cv-05444 Document #: 1 Filed: 10/13/21 Page 87 of 87 PageID #:87



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